                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WISCONSIN



URIEL PHARMACY HEALTH AND                                   Case No. 2:22-cv-00610
WELFARE PLAN; URIEL PHARMACY, INC.;
HOMETOWN PHARMACY; and
HOMETOWN PHARMACY HEALTH AND
WELFARE BENEFITS PLAN, on their own
behalf and on behalf of all others similarly
situated,

                             Plaintiffs,

                vs.

ADVOCATE AURORA HEALTH, INC. and
AURORA HEALTH CARE, INC.,

                             Defendants.

                       DEFENDANTS’ ANSWER TO THE SECOND
                        AMENDED CLASS ACTION COMPLAINT

       Defendants Advocate Aurora Health, Inc. and Aurora Health Care, Inc. (“Defendants” or

“AAH”), by and through their attorneys, respectfully submit the following answer and affirmative

defenses to the Second Amended Class Action Complaint (the “Amended Complaint,” ECF No.

46) filed by Plaintiffs Uriel Pharmacy Health and Welfare Plan, Uriel Pharmacy, Inc., Hometown

Pharmacy, and Hometown Pharmacy Health and Welfare Benefits Plan (“Plaintiffs”) on October

2, 2023. Except as expressly admitted below, AAH denies each and every allegation and claim in

the Amended Complaint.




                                         1
         Case 2:22-cv-00610-LA Filed 10/30/23 Page 1 of 115 Document 50
I.     “NATURE OF THE ACTION”

       1.      This is an action for restraint of trade, unlawful monopolization, and unfair methods

of competition seeking classwide damages and injunctive and equitable relief under Sections 1 and

2 of the Sherman Act, 15 U.S.C. §§ 1, 2.

ANSWER: The allegations in this Paragraph purport to characterize the nature of the action and

require no response. To the extent a response is required, AAH denies the allegations in this

Paragraph.

       2.      For the past several years, AAH has engaged in anticompetitive methods to restrain

trade and abuse its market dominance for the purpose of foreclosing competition and extracting

unreasonably high prices from the Plaintiffs and other Wisconsin businesses, unions, and

taxpayers. These abuses include unlawfully forcing commercial health plans to include in their

networks all of AAH’s overpriced facilities even if they would rather only include some, and

aggressively blocking employers and insurers from directing individuals to higher value care at

non-AAH facilities. AAH has gone to extraordinary lengths to suppress innovative insurance

products, such as tiered plans, that would reduce costs for employers. And it has used a

combination of acquisitions, referral restraints, non-competes, and gag clauses to suppress

competition from other healthcare providers and attempt to expand its monopoly over acute

inpatient hospital services into other, separate markets.

ANSWER: AAH denies the allegations in this Paragraph.

       3.      Rising healthcare costs have had a significantly negative impact on Wisconsin

employers, workers, and taxpayers. According to national academic studies and state-specific

research in Wisconsin, those rising healthcare costs are primarily driven by the rapidly increasing

prices charged by large hospital systems such as AAH, and these price increases are driven

primarily by consolidation among hospital providers.


                                         2
         Case 2:22-cv-00610-LA Filed 10/30/23 Page 2 of 115 Document 50
ANSWER: The allegation in the first sentence of this Paragraph purports to characterize the

nature of the action and require no response. To the extent a response is required, AAH denies

that allegation. AAH further lacks knowledge or information sufficient to form a belief about the

truth of the allegations regarding the contents of the unidentified studies and research referenced

in the second sentence of this Paragraph, and AAH denies the truth of the statements attributed to

these unidentified sources. AAH otherwise denies the allegations in this Paragraph.

       4.      There is a bipartisan consensus among healthcare policy experts that consolidation

of hospitals causes higher prices without resulting in corresponding increases in the quality of care

provided to patients or patient satisfaction. This is because hospital systems with greater market

power are able to extract higher prices by engaging in anticompetitive behavior, such as imposing

vertical restraints that leverage the market power they have over one market to extract

supracompetitive profits from other markets in which the systems face greater competition.

ANSWER: AAH denies the allegations in this Paragraph.

       5.      AAH has used its vast market power to engage in anticompetitive behavior that

allows it to charge extremely high prices for healthcare services in Wisconsin. These prices would

not be possible without AAH’s anticompetitive behavior and have resulted in Wisconsin

employers, unions, and local governments overpaying for healthcare by hundreds of millions of

dollars in recent years.

ANSWER: AAH denies the allegations in this Paragraph.

       6.      AAH’s high prices are apparent in routine, high-volume procedures like joint

replacements, which at AAH’s facilities in Milwaukee cost $21,000 more than a competitor

located only minutes away, representing a 50% premium charged by AAH for the same procedure.




                                         3
         Case 2:22-cv-00610-LA Filed 10/30/23 Page 3 of 115 Document 50
And they are manifested in cumulative numbers that show AAH is by far the most expensive

hospital system in Eastern Wisconsin.

ANSWER: AAH denies the allegations in this Paragraph.

       7.       AAH’s anticompetitive behavior is a direct contributor to Eastern Wisconsin’s high

healthcare prices. According to a recent study, healthcare prices in Milwaukee are the fourth

highest in the entire country; they are higher even than those in New York City.

ANSWER: AAH denies the allegations in the first sentence of this Paragraph. AAH lacks

knowledge or information sufficient to form a belief about the truth of the allegations in the second

sentence of this Paragraph and, on that basis, denies them.

       8.       AAH has been able to impose these eye-watering prices on employers in Wisconsin

by using its market power to suppress competition. Specifically, AAH:

            •   Forces commercial health plans to include its overpriced facilities in- network

                even when they do not want to;

            •   Goes to extreme efforts to drive out innovative insurance products that save

                employers and patients money;

            •   Suppresses competition on price and quality of care through secret and

                restrictive contract terms that have been the subject of bipartisan criticism; and

            •   Acquires new facilities to raise prices for the same services.

ANSWER: AAH denies the allegations in this Paragraph.

       9.       Individually and in combination, this anticompetitive conduct results in higher

prices paid by Wisconsin employers for healthcare. This is true throughout AAH’s service area,

both in the geographic markets in which it has monopoly or near-monopoly power, and in markets

like Milwaukee where it nominally faces more competition from other hospitals.



                                         4
         Case 2:22-cv-00610-LA Filed 10/30/23 Page 4 of 115 Document 50
ANSWER: AAH denies the allegations in this Paragraph.

        10.     The purpose of AAH’s vertical restraints (i.e., the contractual provisions it forces

on Network Vendors) is to inhibit competition, by precluding Network Vendors from removing

some AAH facilities from their networks and precluding them from encouraging patients to seek

care from nearby cheaper competitor hospitals offering a higher quality of care. If Network

Vendors were able to take these actions (or even realistically threaten to), this would lead directly

to lower prices. Employers with self-funded plans, like Hometown and Uriel, thus pay

substantially more than they otherwise would for healthcare as a direct result of AAH’s

anticompetitive and monopolistic practices.

ANSWER: AAH denies the allegations in this Paragraph.

        11.     In 2019, AAH generated $12.8 billion in revenue and earned $1.5 billion in profit.

By that same year, AAH had built up about $12 billion in assets. AAH’s high profits are a major

outlier from other hospital systems.

ANSWER: AAH admits that in 2019 it generated approximately $12.8 billion in revenue, earned

approximately $1.5 billion in profit, and held approximately $11.7 billion in net assets. AAH

denies the allegations in the third sentence of this Paragraph.

        12.     AAH has used its unlawfully inflated profits to engage in an acquisition spree of

competitor hospitals and independent facilities—a spree AAH has made clear it plans to continue

in the years to come. These acquisitions offer AAH two self-reinforcing anticompetitive financial

benefits: (1) the ability to impose higher prices at the acquired facilities than the previous owners

could, and (2) even greater systemwide power that AAH can leverage to force employers and

patients to pay higher prices at all of its facilities.

ANSWER: AAH denies the allegations in this Paragraph.




                                          5
          Case 2:22-cv-00610-LA Filed 10/30/23 Page 5 of 115 Document 50
        13.        As the Milwaukee Business Journal summarized: “Advocate Aurora Health is

embarking on what it calls a ‘bold new strategy’ to more than double its annual revenue by 2025

via mergers and acquisitions of healthcare systems, health insurers and consumer-facing health

products.” AAH’s CEO speculated that the system’s profits could be used to acquire more

hospitals “a thousand miles away,” and AAH’s Executive Vice President publicly stated AAH’s

business practice is to be a “multi-market consolidator.” 1

ANSWER:        AAH neither admits nor denies the allegations regarding the contents of the

Milwaukee Business Journal article referenced in this Paragraph because the article speaks for

itself. AAH respectfully refers the Court to that article for an accurate and complete presentation

of its contents.

        14.        And that’s exactly what happened in December when AAH consummated its

merger with Atrium Health, Inc., a multi-billion-dollar hospital system based in Charlotte with

operations in North Carolina, South Carolina, Georgia, and Alabama. This merger resulted in the

creation of a new entity, Advocate Health, Inc. This new entity is headquartered in Charlotte, even

though AAH promised only a few years ago, as part of an effort to push through a previous merger,

that it was committed to its Wisconsin community.

ANSWER: AAH admits that AAH and Atrium Health combined to form Advocate Health, Inc.,

which is headquartered in Charlotte, North Carolina. AAH otherwise denies the allegations in this

Paragraph.




1
  Rich Kirchen, 'Bold' strategy: Advocate Aurora Health plans to more than double revenue by
2025,     Milwaukee       Business    Journal   (January    14,    2020),     available    at:
https://www.bizjournals.com/milwaukee/news/2020/01/14/bold-          strategy-advocate-aurora-
healthplans-to-more.html


                                          6
          Case 2:22-cv-00610-LA Filed 10/30/23 Page 6 of 115 Document 50
        15.        That previous merger in 2018 combined Aurora Health Care of Wisconsin and

Advocate Health Care of Illinois and created one of the largest hospital chains in the country. The

merger created the renamed Advocate Aurora Health. The transaction increased both the new

system’s market power in Southeastern Wisconsin as well as the system’s overall leverage over

Wisconsin and Illinois employers who pay for medical services in both states and with the

companies that design many commercial health plan networks that must span the Wisconsin-

Illinois border.

ANSWER: AAH admits AAH was formed in 2018 through the combination of Aurora Health

Care, headquartered in Wisconsin, and Advocate Health Care, headquartered in Illinois, and the

combined entity was re-named Advocate Aurora Health. AAH lacks knowledge or information

sufficient to form a belief about the truth of the remaining allegations in the first sentence of this

Paragraph and, on that basis, denies them. AAH denies the allegations in the third sentence of this

Paragraph.

        16.        AAH—a nominal “non-profit”—recently established its own investment and

buyout fund to engage in further acquisitions, venture capital investments, and other financial

transactions where, according to the new fund’s president, “there’s a lot of growth opportunity.”

He also stated that the fund would “invest in, acquire, do a transaction with a company where there

are synergy or cross-pollination opportunities with our core business.” Betraying just how far AAH

has strayed from its non-profit status, the “core business” referred to is the supposedly charitable

provision of healthcare services to Wisconsin families by AAH. And within that “core business,”

the buyout fund president was remarkably candid about AAH’s goals: “One way we measure that

is what we call ‘share of wallet,’ which is a sort of a retail measure of how many times and in what




                                          7
          Case 2:22-cv-00610-LA Filed 10/30/23 Page 7 of 115 Document 50
ways are we interacting with the people we serve beyond just traditional care delivery, and does

that generate more revenue?”

ANSWER: AAH admits that it is a non-profit and that it has established Advocate Aurora

Enterprises, which strategically invests in consumer health and wellness companies. To the extent

that Plaintiffs cite to statements or other sources in this Paragraph, AAH respectfully refers the

Court to those statements or other sources for an accurate and complete statement of their contents.

AAH otherwise denies the allegations in this Paragraph.

       17.     By claiming non-profit status despite being a multistate, multibillion-dollar

profitable enterprise, AAH avoids paying hundreds of millions of dollars in federal, state, and local

taxes on profits by promising to pursue a primarily charitable purpose. However, a study by the

independent Lown Institute released in April 2022 comparing non-profit hospital systems’

charitable impact found that AAH spent $498 million per year less on charity care and community

investment than the estimated taxes AAH avoided through its non-profit, tax-exempt status. This

“fair share deficit” at AAH was the eighth worst out of 275 non-profit hospital systems evaluated.

ANSWER: AAH denies the validity of the methodology, characterizations, and conclusions of

the Lown Institute Hospital Index 2022 Fair Share Spending study. AAH denies the remaining

allegations in this Paragraph.

       18.     In addition to using profits for an aggressive merger-and-acquisition strategy, AAH

pays extraordinary amounts to the executives of this supposed charitable institution. The CEO of

AAH paid himself over $13.4 million dollars from the charity in 2019, more compensation than

most CEOs of Fortune 500 corporations received. Fifteen of AAH’s “non-profit” executives were

paid over $1 million in 2019. The “Chief Business Development Officer” was paid over $2.5

million.




                                           8
           Case 2:22-cv-00610-LA Filed 10/30/23 Page 8 of 115 Document 50
ANSWER: AAH denies the allegations in the first sentence of this Paragraph. AAH denies that

its CEO “paid himself over $13.4 million dollars from the charity” in 2019, and lacks knowledge

or information sufficient to form a belief about the truth of the remaining allegations in the second

sentence of this Paragraph and, on that basis, denies them. AAH admits that fifteen of its

executives received over $1 million in total compensation in 2019, and that the Chief Business

Development Officer received more than $2.5 million in total compensation. AAH otherwise

denies the allegations in this Paragraph.

       19.     Without intervention, AAH will continue to use anticompetitive contracting and

negotiating tactics to raise prices on Wisconsin employers and use those funds for aggressive

acquisitions and executive compensation. This will reduce economic growth in Wisconsin, harm

patients and taxpayers, and drive employers out of Wisconsin.

ANSWER: AAH denies the allegations in this Paragraph.

       20.     This case seeks to compensate the employers, unions, local governments, and other

payers that have been directly harmed by AAH’s past illegal activity, and to enjoin AAH from

continuing unlawful practices that harm Wisconsin’s economy and healthcare system.

ANSWER: AAH admits that Plaintiffs seek damages and injunctive relief in this case. AAH

otherwise denies the allegations in this Paragraph.

II.    “PARTIES”

       A.      “Plaintiffs”

       21.     Plaintiff Hometown Pharmacy is a business with locations across Wisconsin with

a self-funded health plan for its employees. Hometown has paid AAH for healthcare at rates

negotiated by its Network Vendor.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph and, on that basis, denies them.


                                         9
         Case 2:22-cv-00610-LA Filed 10/30/23 Page 9 of 115 Document 50
         22.   Plaintiff Hometown Pharmacy Health and Welfare Benefits Plan is Hometown’s

self-funded health plan that has paid AAH for healthcare at rates negotiated by its Network Vendor.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph and, on that basis, denies them.

         23.   Plaintiff Uriel Pharmacy, Inc. is a business in East Troy, Wisconsin with a self-

funded health plan for its employees. Uriel has paid AAH for healthcare at the rates negotiated by

its Network Vendor.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph and, on that basis, denies them.

         24.   Plaintiff Uriel Pharmacy Health and Welfare Plan is Uriel’s self-funded health plan.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph and, on that basis, denies them.

         B.    “Defendants”

         25.   Defendant Advocate Aurora Health, Inc. is a Delaware non-profit corporation. On

April 1, 2018, Advocate Aurora Health, Inc. became the sole corporate member of Advocate

Health Care Network, an Illinois non-profit corporation and Aurora Health Care, Inc., a Wisconsin

nonstock non-profit corporation. It may be served with process through its registered agent, The

Corporation Trust Company, 1209 Orange Street, Wilmington, Delaware, 19801.

ANSWER: AAH admits the allegations in this Paragraph.

         26.   Defendant Aurora Health Care, Inc. is a Wisconsin non-profit corporation. Its

principal place of business is 750 W Virginia Street, Milwaukee, Wisconsin, 53204. It may be

served with process through its registered agent at 301 S Bedford St, Ste 1, Madison, Wisconsin,

53703.

ANSWER: AAH admits the allegations in this Paragraph.


                                          10
          Case 2:22-cv-00610-LA Filed 10/30/23 Page 10 of 115 Document 50
III.    “JURISDICTION AND VENUE”

        27.     This Court has personal jurisdiction over AAH because AAH is a resident of

Wisconsin and because the anticompetitive conduct at issue in this litigation took place primarily

in Wisconsin.

ANSWER: AAH admits that this Court has personal jurisdiction over AAH. AAH otherwise

denies the allegations in this Paragraph.

        28.     This Court has subject matter jurisdiction over Plaintiffs’ federal claims under 15

U.S.C. § 15 and 28 U.S.C. § 1331.

ANSWER: AAH admits the allegations in this Paragraph.

        29.     Venue is appropriate in this Court under 28 U.S.C. § 1391 and 15 U.S.C. § 15

because AAH is domiciled in this judicial district and/or because a substantial part of the events

or omissions giving rise to this action occurred in this judicial district.

ANSWER: AAH admits the allegations in this Paragraph.

IV.     “OVERVIEW OF HOSPITAL/INSURANCE MARKETS AND
        CONSOLIDATION”

        A.      “Hospital/Insurance Negotiations Within a Functioning Market”

        30.     The market for hospital services is different from other product/services markets

because the person consuming the hospital services (the patient) does not negotiate—and in many

cases, does not even know beforehand—the prices of the services they are consuming. Nor does

the patient typically pay the vast majority of the costs of the medical services they consume.

Instead, for insured individuals, those costs are paid primarily by their health insurance plan.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph insofar as they purport to characterize the market for hospital services

as compared to “other product/services markets,” the incentives of patients to take or not take any



                                         11
         Case 2:22-cv-00610-LA Filed 10/30/23 Page 11 of 115 Document 50
action, or patients’ knowledge regarding the prices of services those patients consume. AAH

denies the allegations in this Paragraph on that basis.

       31.     Many businesses, local governments, and unions have commercial health plans in

which the employers directly pay the vast majority of the healthcare expenses their employees (and

their dependents) incur. These “self-funded” plans rely on insurance companies to administer the

plans and negotiate on their behalf with hospitals. But the self-funded commercial health plans

directly pay bills from hospitals for services used by their employees or members. This is distinct

from the more commonly understood “fully insured” commercial health plans, in which companies

or individuals pay premiums to an insurance company which, in turn, pays most of the bills from

hospitals. For simplicity, this Complaint refers to both types of insurance products collectively as

“commercial health plans.”

ANSWER: AAH admits that some businesses, local governments, and unions have “self-funded”

plans and that those plans sometimes use third-party administrators or insurers. AAH otherwise

denies the allegations in this Paragraph.

       32.     The healthcare market is different from most other markets, where the consumer of

the good/service knows the price ex ante and chooses to purchase the product based on its cost,

quality, and the availability of competing options. Instead, patients and their healthcare provider

choose the goods or services, usually without knowing the price that the patient’s commercial

health plan will have to pay for those goods and services.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph insofar as they purport to characterize the market for hospital services

as compared to “most other markets,” competition among health care providers, the incentives of




                                         12
         Case 2:22-cv-00610-LA Filed 10/30/23 Page 12 of 115 Document 50
patients to take or not take any action, or patients’ knowledge regarding the prices of services those

patients consume. AAH denies the allegations in this Paragraph on this basis.

       33.     Before medical services are consumed, hospitals negotiate the prices that

commercial health plans will pay for those services with companies that assemble insurance

networks and lease or provide these networks to those commercial health plans. These companies

are called “Network Vendors,” and the prices they negotiate with hospitals for in-network care are

called “allowed amounts.”

ANSWER: AAH admits that insurers and/or third-party administrators, which the Amended

Complaint refers to as Network Vendors, generally assemble networks of hospitals. While AAH

admits that the Amended Complaint uses the term “Network Vendor” to describe insurance

companies that assemble networks of facilities through negotiation with healthcare providers,

AAH denies that “Network Vendor” is a commonly used term in the health care industry. AAH

nevertheless uses the term “Network Vendor” to be consistent with the Amended Complaint. AAH

otherwise denies the allegations in this Paragraph.

       34.     When an insurance company, such as Blue Cross or Cigna, manages a self-funded

health plan on behalf of an employer—rather than actually underwriting the risk itself, as it does

for fully insured plans—the insurance company is acting as a third-party administrator (“TPA”).

TPAs are in charge of processing claims and managing the day-to-day affairs of the self-funded

health plan. TPAs may also help self-funded health plans select “networks,” which are groups of

healthcare providers. This leads to the commonly used term of a provider being “in-network” for

a health plan—a term that is well-understood by employees to mean facilities where their insurance

will be accepted and their costs as an employee will be determined by plan documents they can

consult beforehand. Going to an “out of network” provider generally means much higher costs and




                                         13
         Case 2:22-cv-00610-LA Filed 10/30/23 Page 13 of 115 Document 50
uncertainty for both the employee (in terms of out-of-pocket costs, frequent surprise bills, and

paperwork burden) and their health plan (in terms of substantially higher prices than those offered

to plans that include the provider in-network and significant administrative burden).

ANSWER: AAH admits that there are insurers that act as third-party administrators. AAH further

admits that some third-party administrators may process claims and/or manage the day-to-day

affairs of self-funded health plans. AAH also admits that third-party administrators may assist

self-funded health plans in obtaining access to healthcare providers. AAH otherwise lacks

knowledge or information sufficient to form a belief about the truth of the allegations in this

Paragraph insofar as they purport to characterize Network Vendors’ negotiations of contracts, the

creation and administration of provider networks, or the incentives of patients to take or not take

any action. AAH denies the remaining allegations in this Paragraph on that basis.

       35.     For both obvious practical reasons and because of contractual restrictions, self-

funded health plans can almost never assemble their own “networks” of providers. This is

primarily because of the practical impossibility of employers conducting individual negotiations

with hundreds of providers across all the geographies where an employer has employees and

dependents, and because providers would refuse to negotiate thousands of contracts with

individual self-funded health plans.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph and, on that basis, denies them.

       36.     Therefore, another set of companies assemble networks of facilities through

negotiation with healthcare providers. Those “Network Vendors” then allow self-funded health

plans to “rent” or access the network they have assembled. Network Vendors tend to be large,

well-known insurance companies like Aetna, Anthem Blue Cross Blue Shield, and Cigna that have




                                        14
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 14 of 115 Document 50
the scale and technical knowledge to build networks. In some cases, a Network Vendor and TPA

are two divisions of the same company. A self-funded health plan can therefore contract with a

company both to use its network and to administer the plan.

ANSWER: AAH admits that some Network Vendors may allow self-funded health plans to

access the network that they have assembled for a fee. AAH further admits that some self-funded

health plans contract with an insurance company as a Network Vendor and as a third-party

administrator. AAH otherwise lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this Paragraph insofar as they purport to characterize Network

Vendors’ creation and administration of provider networks. AAH denies the remaining allegations

in this Paragraph on that basis.

        37.    Because Network Vendors are typically large, well-known insurance companies,

the networks they build often are used by the commercial health plans they offer to fully-insured

employers. These plans operate in a similar way to self-funded employer plans: the prices are

determined by the Network Vendors’ broader negotiations with a provider, the plans are subject

to the same AAH restraints described below, the networks of providers used are the same as those

for self-funded employer plans, and payments are made directly from the plan to the provider.

ANSWER: AAH admits that some Network Vendors assemble networks that are used by the

commercial health plans they offer to fully-insured employers. AAH otherwise lacks knowledge

or information sufficient to form a belief about the truth of the allegations in this Paragraph insofar

as they purport to characterize Network Vendors’ negotiations of contracts or the creation and

administration of provider networks. AAH denies the remaining allegations in this Paragraph on

that basis.




                                         15
         Case 2:22-cv-00610-LA Filed 10/30/23 Page 15 of 115 Document 50
       38.     Network Vendors negotiate with hospitals and other providers to create networks.

For a network to be commercially viable (i.e., for it to be one an employer would choose to offer

its employees), it must include enough providers throughout the geography where the network is

offered and across the full spectrum of healthcare services patients may need, from primary care

to complicated inpatient hospital surgical care to specialty practices.

ANSWER: AAH admits that some Network Vendors negotiate with hospitals and other providers

to assemble networks. AAH otherwise lacks knowledge or information sufficient to form a belief

about the truth of the allegations in this Paragraph insofar as they purport to characterize Network

Vendors’ negotiations of contracts or the creation and administration of provider networks. AAH

denies the remaining allegations in this Paragraph on that basis.

       39.     Network Vendors negotiate with providers on price, attempting to balance the need

to build networks with an adequate number of providers and the need to build networks that offer

reasonable prices for their potential customers, i.e., commercial health plans.

ANSWER:        AAH admits that some Network Vendors negotiate with providers on the price of

medical services. AAH otherwise lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this Paragraph insofar as they purport to characterize Network

Vendors’ negotiations of contracts or the creation and administration of provider networks. AAH

denies the remaining allegations in this Paragraph on that basis.

       40.     Network Vendors generally do not negotiate with hospitals on a service-by-service

basis. Rather, Network Vendors generally negotiate with hospitals for bundles of services that will

be available to many commercial health plans that use the network. Those commercial health plans

then offer that bundle of services to members as “in-network” benefits. Critically, commercial




                                        16
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 16 of 115 Document 50
health plans are required to pay the prices that have already been negotiated by Network Vendors

during their process of building networks.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph insofar as they purport to characterize Network Vendors’ negotiations

of contracts or the creation and administration of provider networks. AAH denies the allegations

in this Paragraph on that basis.

       41.     If a commercial health plan’s Network Vendor and a hospital reach a deal for a

bundle of services (for instance, all acute inpatient hospital services), the hospital will generally

be considered in-network for every service in that bundle. This means that for any service in that

bundle, if a commercial health plan’s member receives that service from the hospital, the plan will

pay the hospital the allowed amount that the Network Vendor negotiated for that service, after the

patient has paid their required out-of-pocket costs.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph insofar as they purport to characterize Network Vendors’ negotiations

of contracts, or the creation and administration of provider networks. AAH denies the allegations

in this Paragraph on that basis.

       42.     In competitive markets—markets with multiple hospitals providing the services

commercial health plans need or want to offer their members—a Network Vendor will contract

with a hospital for a bundle of services only when the hospital offers services that are competitively

priced and of sufficiently high quality. The Network Vendor may include as in-network only some

bundles of services at any given hospital. For instance, the network may designate one hospital as

the in-network for all acute inpatient hospital services but may choose not to include that hospital

in-network for some acute outpatient hospital services (visits not requiring an overnight stay)




                                         17
         Case 2:22-cv-00610-LA Filed 10/30/23 Page 17 of 115 Document 50
because the Network Vendor has identified ways for commercial health plans to purchase higher

quality care and/or less expensive versions of those outpatient services from a nearby competing

hospital or other outpatient provider. Similarly, in a competitive market, a Network Vendor may

decline to include any services from a hospital “in-network” if the Network Vendor determines

that the hospital’s price or quality of care are not competitive with other nearby providers.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph insofar as they purport to characterize competition among health care

providers, Network Vendors’ negotiations of contracts, or the creation and administration of

provider networks. AAH denies the allegations in this Paragraph on that basis.

        43.     If a Network Vendor wishes to offer viable networks, the Network Vendor must

construct networks that include a comprehensive bundle of services that employees/members of a

commercial health plan can access in their region. Members generally insist on receiving their

healthcare near where they live or work. A plan will not be viable—for either employers or their

employees—if it does not offer in-network services that individuals commonly desire or need.

Similarly, a plan will not be viable if members can only receive services at in-network rates at a

hospital that is a long distance from their offices or residences because individuals may not be able

or willing to travel so far to receive those services.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph insofar as they purport to characterize competition among health care

providers, Network Vendors’ negotiations of contracts, or the creation and administration of

provider networks. AAH denies the allegations in this Paragraph on that basis.

        44.     The commercial health plans directly pay the costs for in-network services at the

prices negotiated by the Network Vendor. Self-funded health plans, in addition to paying the prices




                                         18
         Case 2:22-cv-00610-LA Filed 10/30/23 Page 18 of 115 Document 50
negotiated by the Network Vendors, also pay the Network Vendors for access to the network and

pay TPAs a fee for the administration of the plan.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph and, on that basis, denies them.

       45.     In a competitive market, hospitals compete on price and the quality of patient care

to be selected by Network Vendors for inclusion and preferred placement in networks. Then,

Network Vendors compete to have their networks selected by commercial self-funded health plans

and also use their networks for the commercial health plans they operate.

ANSWER: AAH admits that AAH competes on price, quality of patient care, and other attributes,

but denies any implication that it does not operate in competitive markets. AAH otherwise lacks

knowledge or information sufficient to form a belief about the truth of the allegations in this

Paragraph insofar as they purport to characterize competition among health care providers,

Network Vendors’ negotiations of contracts, or the creation and administration of provider

networks. AAH denies the remaining allegations in this Paragraph on that basis.

       B.      “Hospital/Insurance Negotiations in a Market Distorted by Anticompetitive
               Behavior”

       46.     The unique mechanics of the healthcare market provide an opportunity for hospital

conglomerates with significant market power to anticompetitively restrain trade through unduly

restrictive negotiations and agreements with Network Vendors and TPAs in order to extract

supracompetitive prices. Supracompetitive prices are rates that are higher than what would be

found in the context of normal competition. In the market for hospital services, supracompetitive

prices come in the form of inflated allowed amounts, which are negotiated by Network Vendors

but paid by commercial health plans.

ANSWER: AAH denies the allegations in this Paragraph.



                                        19
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 19 of 115 Document 50
       47.     When a Network Vendor seeks to construct a network in a region where a

significant geographic area is monopolized by a single hospital system, that hospital system is in

effect a “must-have” for the network. Commercial health plans with a significant number of

members in that area will not use a network that does not include necessary services provided by

that hospital system.

ANSWER: The allegations in this Paragraph consist of generalized characterizations about

network providers in support of Plaintiffs’ legal theories, which AAH denies. AAH denies the

allegations in this Paragraph on that basis.

       48.     A system with must-have facilities that engages in anticompetitive behavior can

cause significant financial harm. First, in negotiations with Network Vendors, a hospital system

with must-have facilities can demand allowed amounts that are grossly above what the hospital

could obtain if it faced competition. This is true both by virtue of the hospital’s extant market

power, as well as the enormously high barriers to entry when it comes to many services hospitals

provide, such as acute inpatient hospital services. These barriers to entry, which include spending

significant time and money to build facilities and hire skilled staff (such as surgeons and

anesthesiologists) as well as regulatory hurdles such as obtaining approval from state and local

officials before opening a new facility, prevent new entrants from entering the market and reining

in prices charged at must-have facilities. Wisconsin requires detailed regulatory oversight and

approval of new hospital construction, creating another headwind for new facilities. And

Wisconsin has a cap on the total number of hospital beds in the state.

ANSWER: The allegations in this Paragraph consist of generalized characterizations about

network providers in support of Plaintiffs’ legal theories, which AAH denies. AAH denies the

allegations in this Paragraph on that basis.




                                        20
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 20 of 115 Document 50
       49.     Second, if the must-have facilities are part of a larger hospital system that has other

facilities that do face competition, the hospital system can refuse to offer in-network services at

the must-have facility unless Network Vendors also agree to include in their networks the system’s

other facilities, at higher allowed amounts than those other facilities could normally demand

standing alone. When negotiating with Network Vendors, a hospital system with must-have

facilities can link those facilities to the system’s facilities that would normally face more

competition, and by doing so extract supracompetitive prices from commercial health plans.

Importantly, this results in the commercial health plans paying supracompetitive allowed amounts

not only for services obtained at the must-have facilities but also for services at the system’s

“linked” facilities, which face more competition.

ANSWER: The allegations in this Paragraph consist of generalized characterizations about

network providers in support of Plaintiffs’ legal theories, which AAH denies. AAH denies the

allegations in this Paragraph on that basis.

       50.     These factors and others have led to a consensus in the field of healthcare

economics that monopolization of hospital markets significantly increase prices for hospital

services. As the Kaiser Family Foundation wrote, “A wide body of research has shown that

provider consolidation leads to higher health care prices for private insurance; this is true for both

horizontal and vertical consolidation.” And the economic literature strongly suggests that there are

no concomitant improvements in quality from such monopolization.

ANSWER: AAH admits that the Kaiser Family Foundation published a brief containing the

quoted language, but denies the validity of those characterizations and conclusions.            AAH

otherwise denies the allegations in this Paragraph.




                                         21
         Case 2:22-cv-00610-LA Filed 10/30/23 Page 21 of 115 Document 50
       51.     Another anticompetitive tactic used by dominant hospitals to extract

supracompetitive rates is the imposition of “anti-steering” and “anti-tiering” provisions in their

contracts with Network Vendors, TPAs, or health plans. In a competitive market, a Network

Vendor may include both high-cost and low-cost hospitals in network, but individual TPAs or

health plans can take measures to incentivize employees/members to choose the lower-cost,

higher-quality provider where possible. These measures can include adding low-cost, high-quality

providers to the network, providing truthful information about the cost of care from network

providers, and offering financial benefits (e.g., lower co-pays or more preferential risk-sharing)

when patients choose lower-cost providers. Such measures undertaken by health plans are called

“steering.” Another form of steering is the creation of “tiered” networks or “tiered” plans, in which

low-cost, high-quality providers are in a higher tier than more expensive and/or lower-quality

competitors, and the plan’s members are financially incentivized to choose providers in a higher

tier. This form of steering is often referred to as “tiering.” Another form of steering is the creation

of “narrow networks,” which consist of a subset of all the healthcare providers that participate in

a conventional network, typically excluding higher-priced providers.

ANSWER: The allegations in this Paragraph consist of generalized characterizations about

network providers in support of Plaintiffs’ legal theories, which AAH denies. AAH denies the

allegations in this Paragraph on that basis.

       52.     Academic research by health economists has demonstrated that when commercial

health plans, TPAs, and Network Vendors are free to engage in steering and tiering, the plans pay

significantly lower costs for healthcare, with no corresponding reduction in health outcomes.

ANSWER: AAH denies the allegations in this Paragraph.




                                         22
         Case 2:22-cv-00610-LA Filed 10/30/23 Page 22 of 115 Document 50
       53.     When a dominant hospital system—particularly a system with one or more must-

have facilities—negotiates with Network Vendors, the system can force the Network Vendor and

commercial health plans not to engage in these cost-saving measures by requiring “anti-steering”

or “anti-tiering” provisions in their contracts. Such provisions essentially require commercial

health plans to grant the dominant provider a “most favored nation” status, preventing the plans

from favoring other systems through financial incentives, information sharing, or placing any other

system in a plan’s higher “tier.” As detailed below, AAH engages in this anticompetitive conduct.

ANSWER: AAH denies the allegations in this Paragraph.

       54.     In 2016, former President Obama’s Department of Justice brought a Sherman Act

suit against Atrium Health, a dominant North Carolina hospital system that imposed anti-steering

and anti-tiering provisions on commercial health plans. (AAH and Atrium have announced that

they intend to merge into one multistate system, in a proposed $27 billion deal.) In the lawsuit, the

government alleged that the system “prevent[ed] insurers from offering tiered networks that

feature hospitals that compete with [the system] in the top tiers, and prevent[ed] insurers from

offering narrow networks that include only [the system’s] competitors.” The government further

alleged that these and other “steering restrictions reduce competition resulting in harm to Charlotte

area consumers, employers, and insurers.” The government also alleged that the system had the

market power necessary to be able to force these provisions on unwilling insurers, because the

system controlled approximately 50 percent of the relevant market (acute inpatient hospital

services). After a federal court held that the system’s use of anti-steering provisions was plausibly

anticompetitive under the Sherman Act, the case settled, and the system agreed not to impose anti-

steering and anti-tiering provisions on commercial health plans going forward.




                                        23
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 23 of 115 Document 50
ANSWER: AAH admits that AAH and Atrium Health announced a transaction to combine in

May 2022, and the transaction closed in December 2022. AAH further admits that in 2016, the

United States Department of Justice brought an antitrust suit against Atrium Health. To the extent

that the allegations in the third, fourth, fifth, and sixth sentences of this Paragraph refer to the

Department of Justice’s allegations in litigation against Atrium, AAH respectfully refers the Court

to the pleadings containing those allegations for an accurate and complete statement of their

contents. AAH otherwise denies the allegations in this Paragraph.

       55.     Former President Trump’s Assistant Attorney General for Antitrust also criticized

anti-steering provisions saying, “Without these provisions, insurers could promote competition by

‘steering’ patients to medical providers that offer lower priced, but comparable or higher-quality

services. Importantly, that practice benefits consumers, but the anti-steering restrictions prevented

it.”

ANSWER: To the extent that the allegations in this Paragraph refer to statements from the former

Assistant Attorney General for Antitrust, AAH respectfully refers the Court to those statements

for an accurate and complete account of its contents. AAH otherwise denies the allegations in this

Paragraph.

       56.     President Biden’s Secretary of Health and Human Services, Xavier Becerra, wrote

in his previous role as California Attorney General that contracting practices that “prevented

insurers from using steering and tiering” were among types of “anticompetitive conduct” that

“discouraged competition, impaired price-conscious consumer choice, and resulted in inflated

prices on a system-wide basis that exceed its competitors and exceed the prices its hospitals and

its other providers could charge in a free, competitive market.”




                                        24
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 24 of 115 Document 50
ANSWER: To the extent that the allegations in this Paragraph refer to written statements from

the former California Attorney General, AAH respectfully refers the Court to those documents for

an accurate and complete statement of their contents. AAH otherwise denies the allegations in

this Paragraph.

       57.        Likewise, Senator Chuck Grassley, then chairman of the U.S. Senate Judiciary

Committee, said such anti-steering practices were “restrictive contracts deliberately designed to

prevent consumers’ access to quality, lower cost care.”

ANSWER: To the extent that the allegations in this paragraph refer to statements from Senator

Grassley, AAH respectfully refers the Court to those statements for an accurate and complete

account of their contents. AAH otherwise denies the allegations in this Paragraph.

       58.        Because of the nature of the healthcare market being one where the person selecting

services (a patient in consultation with their providers) is not the same as the entities primarily

directly paying for services (self-funded health plans and commercial insurers), there is a

consensus in healthcare policy and economics that these types of restraints – which AAH uses in

the form of all-plans, all-or-nothing, anti-steering, anti-tiering, gag clauses, referral restrictions,

non-competes, suppression of reference-based pricing, and other restraints placed on health plans

– block rival providers from their main cost-effective means of competing on cost and quality of

care, substantially constrain the choices of consumers and health plans by limiting pricing and

quality of care information, remove incentives for new providers to enter the market, bar

commercial health plans, Network Vendors, and TPAs from developing lower-cost network

options, and have other anticompetitive harms detailed below. And because of the nature of the

healthcare market outlined previously, these harms to competition take place even if, on paper,




                                         25
         Case 2:22-cv-00610-LA Filed 10/30/23 Page 25 of 115 Document 50
consumers have still ‘choices’ among providers. Thus, they foreclose key methods of competition

that would normally encourage price and quality of care competition between providers.

ANSWER: AAH denies the allegations in this Paragraph.

       59.        A May 2022 academic study in Health Affairs concluded that tools like reference-

based pricing, steering, tiering, and transparency in pricing are particularly important to preserve

competition after mergers like the ones AAH has recently engaged in: “In addition to proactive

oversight of mergers, acquisitions, and joint contracting, the actions of policy makers, insurers,

and employers to empower healthcare consumers with information and incentives to choose lower-

cost providers may help mitigate the price effects of consolidation. To this end, employers and

health plans have increasingly offered enrollees access to cost transparency tools and benefit

designs that include tiered copayments, reference-based pricing, and incentives to seek care at

centers of excellence. Such ‘steering’ mechanisms have been shown to lower costs and put

downward pressure on prices.” Yet, those specific tools the study identified as important to

maintaining competition – reference-based pricing, steering, tiering, and transparency – are the

precise tools that AAH has suppressed through the vertical restraints it has forced on Network

Vendors and commercial health plans.

ANSWER: AAH denies the validity of the methodology, characterizations, and conclusions of

the Health Affairs study referenced in this Paragraph. AAH otherwise denies the allegations in

this Paragraph.

V.     “RELEVANT MARKETS”

       60.        Judgment may be entered against AAH for the illegal conduct described in this

complaint without defining the particular economic markets that AAH’s conduct has harmed. With

respect to Plaintiffs’ antitrust claims, AAH’s ability to impose anticompetitive contract terms in

all, or nearly all, of its agreements with commercial health plans and AAH’s ability to persistently


                                        26
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 26 of 115 Document 50
charge supracompetitive prices are direct evidence of AAH’s market power that obviates any need

for further analysis of competitive effects in particular defined markets.

ANSWER: The allegations in this Paragraph are legal conclusions for which no response is

required. To the extent a response is required, AAH denies the allegations in this Paragraph.

       61.     Moreover, AAH’s ability to control prices in every market in which it operates is

direct evidence of AAH’s monopoly power, obviating the need to define relevant markets and

assess market power indirectly through the use of market shares.

ANSWER: The allegations in this Paragraph are legal conclusions for which no response is

required. To the extent a response is required, AAH denies the allegations in this Paragraph.

       62.     Notwithstanding the foregoing, the markets that are relevant to the illegal conduct

described in this Complaint are properly defined herein. For each, the product market includes

only the purchase of medical services by commercial health plans. The relevant product markets

do not include sales of such services to government payers, e.g., Medicare, Medicaid, and

TRICARE (covering military families), because healthcare providers’ negotiations with

commercial Network Vendors are separate from the process used to determine the rates paid by

government payers.

ANSWER: The allegations in this Paragraph are legal conclusions for which no response is

required. To the extent a response is required, AAH denies the allegations in this Paragraph.

       A.      “Relevant Product Markets”

       63.     The primary relevant product markets in this action are the clusters of inpatient and

outpatient acute hospital care services offered by AAH. These inpatient and outpatient markets,

which are distinct product markets from each other for reasons discussed below, include sales of

such services to individual, group, fully insured, and self-funded health plans. AAH sells these

services at each of its facilities, although not every facility offers the same bundle of services.


                                         27
         Case 2:22-cv-00610-LA Filed 10/30/23 Page 27 of 115 Document 50
ANSWER: The allegations in this Paragraph are legal conclusions for which no response is

required. To the extent a response is required, AAH denies the allegations in this Paragraph.

       64.     Relevant Product Market #1: Acute Inpatient Hospital Services. Acute inpatient

hospital services consist of a broad group of medical and surgical diagnostic and treatment services

that include a patient’s overnight stay in the hospital. Although individual acute inpatient hospital

services are not substitutes for each other (e.g., orthopedic surgery is not a substitute for

gastroenterology), Network Vendors typically contract for various individual acute inpatient

hospital services as a bundle in a single negotiation with a hospital. Moreover, non-hospital

facilities, such as independent outpatient facilities, specialty facilities (e.g., nursing homes), and

facilities that provide long-term psychiatric care, substance abuse treatment, and rehabilitation

services are not viable substitutes for acute inpatient hospital services. Health plans’ and

consumers’ demand for acute inpatient hospital services is generally inelastic because such

services are often necessary to prevent death or long-term harm to health. Thus, such inpatient

services can be treated analytically as a single product market.

ANSWER: The allegations in this Paragraph are legal conclusions for which no response is

required. To the extent a response is required, AAH denies the allegations in this Paragraph.

       65.     Relevant Product Market #2: Outpatient Medical Services. Outpatient medical

services encompass all the medical services a hospital provides that are not inpatient medical

services (i.e., services that do not require an overnight stay). Although individual outpatient

medical services are not substitutes for each other (e.g., a CT scan is not a substitute for an annual

physical), Network Vendors often contract for various individual outpatient medical services as a

bundle in a single negotiation with a hospital system, and that is how AAH negotiates with

Network Vendors with respect to outpatient hospital services.




                                         28
         Case 2:22-cv-00610-LA Filed 10/30/23 Page 28 of 115 Document 50
ANSWER: The allegations in this Paragraph are legal conclusions for which no response is

required. To the extent a response is required, AAH denies the allegations in this Paragraph.

       66.     Unlike for acute inpatient hospital services, non-hospital facilities—such as

independent primary care providers, specialty facilities, ambulatory surgical centers, nursing

homes, and facilities that provide long-term psychiatric care, substance abuse treatment, and

rehabilitation services—can be substitutes for outpatient medical services provided at a hospital.

Consequently, health plans’ and consumers’ demand for outpatient medical services from a

hospital is generally more elastic because, if given the opportunity, they could obtain some of these

services from non-hospital providers. But demand for outpatient medical services in general is

inelastic because such services are often necessary to prevent illness, loss of physical mobility, or

long-term harm to health. Thus, outpatient medical services can be treated analytically as a single

product market.

ANSWER: The allegations in this Paragraph are legal conclusions for which no response is

required. To the extent a response is required, AAH denies the allegations in this Paragraph.

       67.     These two product markets—acute inpatient hospital services and outpatient

medical services—are separate. Health plans often purchase outpatient medical services from

different providers (i.e., non-hospital providers) than those from which they purchase acute

inpatient hospital services, which can only be purchased from hospitals. The existence of non-

hospital competitors would, absent anticompetitive behavior, reduce the price health plans would

pay a hospital system for outpatient medical services, but those competitors would not affect the

price a hospital could charge for acute inpatient hospital services. There are also numerous

procedures that can only be performed in an inpatient setting instead of an outpatient setting. The

markets are therefore distinct.




                                        29
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 29 of 115 Document 50
ANSWER: The allegations in this Paragraph are legal conclusions for which no response is

required. To the extent a response is required, AAH denies the allegations in this Paragraph.

       B.      “Relevant Geographic Markets”

       68.     Patients generally seek inpatient and outpatient care from hospitals in the areas

where they live and work and where their local physicians have admitting privileges. As stated in

an FTC study, “In healthcare markets, distance to medical provider is one of the most important

predictors of provider choice.” Given this, patients do not typically regard hospitals located many

miles away from them as substitutes for local ones, particularly when they have little or no

financial incentive to travel greater distances. Consequently, an insurance network that does not

satisfy patient demand for access to conveniently located hospitals will not be commercially viable.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph, including with respect to the purported “FTC study,” and, on that

basis, denies them.

       69.     Hospital Service Areas (“HSAs”) are one widely accepted proxy for market

definition for inpatient acute care services, developed by The Dartmouth Atlas of Healthcare. The

Dartmouth Atlas defines HSAs as “local healthcare markets for hospital care” and HSAs are often

used in the health care industry to define relevant markets.

ANSWER: AAH neither admits nor denies the allegations in this Paragraph regarding the

contents of the Dartmouth Atlas of Healthcare because the document speaks for itself. AAH

otherwise denies the allegations in this Paragraph.

       70.     In the following HSAs (“AAH Monopolized Inpatient Markets”), AAH faces little

to no competition, and competition from providers of acute inpatient hospital services located

outside these HSAs would likely not be sufficient to prevent a monopolist provider of acute

inpatient hospital services located in the HSA from profitably imposing small but significant price


                                        30
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 30 of 115 Document 50
increases for those services over a sustained period of time. Indeed, in each of these geographic

markets AAH has imposed significant, sustained price increases without losing market share, thus

satisfying the “hypothetical monopolist” test used to assess the validity of geographic market

definitions. For many health plans—and thus Network Vendors—AAH facilities in the following

areas are considered “must-have” for a network.

ANSWER: The allegations in this Paragraph are legal conclusions for which no response is

required. To the extent a response is required, AAH denies the allegations in this Paragraph.

       71.     Elkhorn HSA: In the Elkhorn HSA, AAH controls 60% of inpatient admissions in

the HSA. 2 AAH owns the only hospital in Elkhorn, Aurora Lakeland Medical Center. The next

nearest hospital for residents of Elkhorn is Mercyhealth Hospital which is not a viable competitor

because it lacks certain essential services that Aurora Lakeland offers. For example, dialysis

treatment including both hemodialysis (dialysis requiring appointments at a hospital multiple times

per week), peritoneal dialysis (self-dialysis done seven days a week), as well as an Extracorporeal

ShockWave Lithotripter (to the most common way to treat kidney stones) are available at Aurora

Lakeland but not Mercyhealth. Additionally, Mercyhealth Hospital has only 25 inpatient beds

total, meaning that it would be an entirely inadequate substitute for AAH for plans in Elkhorn




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  This inpatient market share data is primarily based on Medicare admissions or discharges.
According to the federal government’s Centers for Medicare & Medicaid Services (CMS),
Medicare data can be “a useful proxy” for evaluating provider market saturation for “private
insurance” and academic research has “found market share based on the Medicare discharge data
to be representative of all discharges, not just those for Medicare beneficiaries. This is because a
hospital’s volume of Medicare patients in a given area is associated with its total volume of
patients.” Furthermore, a review of non-Medicare sources indicates Medicare admissions are
useful estimates of market share. For example, a broader State of Wisconsin analysis in 2018
indicated that “the [AAH] System operates ten acute care facilities with a 45 percent inpatient
market share” in the “Greater Milwaukee South, Southern Wisconsin, and Northern Illinois
Region” – the same percentage of inpatient admissions as Medicare numbers for the Milwaukee
HSA.


                                        31
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 31 of 115 Document 50
HSA. As discussed below, employers and individuals would be unwilling to accept a plan that

excluded 72% of all inpatient beds available in the Elkhorn HSA, which would be the result of a

network that did not include AAH. Even in the actual small zip code where Mercyhealth is located,

it only accounts for 16% of inpatient admissions, showing that it is simply not a significant check

on AAH’s monopoly power in the region.

ANSWER: AAH admits that it owns Aurora Lakeland Medical Center in Elkhorn, Wisconsin,

but denies that it is the “only” hospital in Elkhorn, Wisconsin. AAH denies that Mercy Health

Hospital is not a “viable competitor” to Aurora Lakeland Medical Center. AAH lacks knowledge

or information sufficient to form a belief about the truth of the remaining allegations in this

Paragraph and in Footnote 2 and, on that basis, denies them.

       72.     For families living north or east of Elkhorn, both of the closest two hospitals are

AAH facilities: Aurora Lakeland Medical Center and Aurora Medical Center Burlington.

ANSWER: AAH denies the allegations in this Paragraph.

       73.     The Elkhorn HSA is entirely within Walworth County, Wisconsin. Wisconsin

Physicians Services (“WPS”)—a prominent TPA and insurance company—has stated that in

Walworth County, “the Aurora network is a necessary component of any health insurance product

sold to employers or other groups of any size.” (emphasis in original). Thus, for the Elkhorn HSA,

the AAH network is a necessary component of any commercial health plan’s network in the

Burlington HSA.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph and, on that basis, denies them.

       74.     Burlington HSA. AAH controls over 78% of inpatient admissions in the HSA with

significantly over 80% in some portions. AAH owns the only inpatient facility in Burlington,




                                        32
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 32 of 115 Document 50
Wisconsin. The next nearest inpatient acute care facility for residents of Burlington and nearby

towns is about 20 minutes away with no traffic and is another AAH facility, Aurora Lakeland

Medical Center. For many residents west of Burlington, the three closest inpatient acute care

facilities are all AAH hospitals. To get to a non-AAH facility, a resident of Burlington or nearby

towns would need to drive 25 or more minutes (if there is no traffic) to Mercyhealth Hospital, a

much smaller facility in Lake Geneva without the inpatient bed capacity for a viable network and

without many common hospital services available at Aurora Lakeland Medical Center. For just a

few examples, Mercyhealth Hospital does not have a PET scanner, a cardiac catheterization

laboratory, cardiac rehabilitation, or an Extracorporeal ShockWave Lithotripter (the most common

way to treat kidney stones), all of which are available at AAH’s Aurora Medical Center Burlington.

Because of this, Mercyhealth would not be a viable competitor for many services even if it were

close enough to compete. Additionally for many residents of Salem Lakes (within the Burlington

HSA), the closest three inpatient facilities are all owned by AAH. The nearest non-AAH inpatient

facility is 30 minutes or more for most Salem Lakes residents and would involve driving past an

AAH facility.

ANSWER: AAH admits that it owns Aurora Medical Center Burlington. AAH lacks knowledge

or information sufficient to form a belief about the truth of the remaining allegations in this

Paragraph and, on that basis, denies them.

       75.      As described previously, WPS, a leading TPA and insurance company, has stated

that AAH is a must-have system in Walworth County. Walworth County has significant overlap

with the Burlington HSA. Walworth County is larger than the Burlington HSA and AAH has a

smaller inpatient market share in Walworth County than it does in the Burlington HSA. Therefore,




                                        33
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 33 of 115 Document 50
WPS’s statements reasonably imply that the AAH network is a necessary component of any

network for commercial health plans in the Burlington HSA.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph and, on that basis, denies them.

       76.     Hartford HSA: AAH owns the only inpatient facility in Hartford, Wisconsin and

controls 62% of inpatient admissions in the Hartford HSA overall.

ANSWER: AAH admits that it owns an inpatient facility in Hartford, Wisconsin. AAH lacks

knowledge or information sufficient to form a belief about the truth of the remaining allegations

in this Paragraph and, on that basis, denies them.

       77.     Marinette HSA: AAH owns the only inpatient facility in Marinette, Wisconsin and

controls about 90% of inpatient admissions in Marinette, Wisconsin and 86% of admissions in

Menominee, Michigan. In the HSA overall, which spans the Michigan-Wisconsin border, AAH

controls 82% of inpatient admissions. AAH did not build this monopoly through outcompeting

rivals on price and quality as our antitrust laws envision. Instead, in mid-2019, AAH purchased

the only hospital in Marinette. The next closest hospital for many residents of Marinette or

Menominee is Bellin Hospital in Oconto which is over 30 minutes away—absent traffic—and

which fails to offer commensurate services. For example, Bellin Hospital does not have many of

the birth-related facilities that are available at AAH in Marinette and lacks many facilities and

much equipment necessary for intensive care. Thus, Bellin Hospital would be a non-viable

competitor for many services even if it was close enough to compete with AAH in this HSA. For

other Wisconsin and Michigan communities farther north, the next closest facility after Aurora

Medical Center Bay Area is over an hour away. Commercial health plans in both Wisconsin and




                                        34
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 34 of 115 Document 50
Michigan are significant purchasers of inpatient and outpatient services from AAH’s Marinette

facilities.

ANSWER: AAH admits that it owns an inpatient facility in Marinette, Wisconsin, which it

acquired in 2019. AAH lacks knowledge or information sufficient to form a belief about the truth

of the remaining allegations in this Paragraph and, on that basis, denies them.

         78.   Two Rivers HSA: AAH owns the only inpatient facility in Two Rivers, Wisconsin.

AAH controls about 68% of inpatient admissions in Two Rivers and over 65% of inpatient

admissions in the HSA overall. For many residents of Two Rivers, the next closest non-AAH

facility is the smaller Holy Family Memorial Medical Center in Manitowoc, which is about 20

minutes away with no traffic. Furthermore, for residents who live farther north, the two closest

facilities are both AAH-owned.

ANSWER: AAH admits that it owns an inpatient facility in Two Rivers, Wisconsin. AAH lacks

knowledge or information sufficient to form a belief about the truth of the remaining allegations

in this Paragraph and, on that basis, denies them.

         79.   Sheboygan HSA: AAH controls over 58% of inpatient admissions in the

Sheboygan HSA and 70% of inpatient admissions in parts of Sheboygan. For some residents living

south of Sheboygan, the next-closest facility is also an AAH hospital. This increases the market

power that AAH has in Sheboygan and areas south of Sheboygan. AAH’s market power in

Sheboygan is also demonstrated by its ability to control prices, including charging significantly

more for inpatient procedures than the other, much smaller inpatient facility in Sheboygan.

ANSWER: AAH admits that it owns Aurora Sheboygan Memorial Medical Center. AAH lacks

knowledge or information sufficient to form a belief about the truth of the allegations in the second

and third sentences of this Paragraph and, on that basis, denies them. The remaining allegations




                                          35
          Case 2:22-cv-00610-LA Filed 10/30/23 Page 35 of 115 Document 50
in this Paragraph are legal conclusions for which no response is required. To the extent a response

is required, AAH denies the remaining allegations in this Paragraph.

        80.     Plymouth HSA: AAH controls about 70% of inpatient admissions in the Plymouth

HSA.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph and, on that basis, denies them.

        81.     Port Washington HSA: AAH controls over 63% of inpatient admissions in the Port

Washington HSA, primarily due to its ownership of Aurora Medical Center Grafton, the only

hospital in Grafton.

ANSWER: AAH admits that it owns Aurora Medical Center Grafton. AAH lacks knowledge or

information sufficient to form a belief about the truth of the remaining allegations in this Paragraph

and, on that basis, denies them.

        82.     In all the AAH Monopolized Inpatient Markets above, AAH’s monopoly market

power is also reflected in its ability to control prices for inpatient acute care services.

ANSWER: AAH denies the allegations in this Paragraph.

        83.     In all the AAH Monopolized Inpatient Markets above, AAH is also a significant

provider of outpatient medical services. Through abuse of its monopoly on acute inpatient hospital

services, AAH is able to charge supracompetitive prices for outpatient medical services as well, as

described in more detail below.

ANSWER: AAH denies the allegations in this Paragraph.

        84.     In the following HSAs, and in other areas of Wisconsin, AAH faces some

competition, yet it is able to impose anticompetitive terms on Network Vendors and charge

supracompetitive prices for inpatient and outpatient services through anticompetitive conduct.




                                         36
         Case 2:22-cv-00610-LA Filed 10/30/23 Page 36 of 115 Document 50
Some examples of HSAs where AAH has been able to charge supracompetitive prices include:

Milwaukee HSA, West Allis HSA, Kenosha HSA, 3 Oshkosh HSA, Manitowoc HSA,

Oconomowoc HSA, West Bend HSA, Brookfield HSA, Cudahy HSA, Green Bay HSA, Racine

HSA, Sturgeon Bay HSA, Waukesha HSA, Chilton HSA, Watertown HSA, Shawano HSA, Fort

Atkinson HSA, Berlin HSA, Kewaunee HSA, Fond Du Lac HSA, and Menomonee Falls HSA.

AAH has also been able to impose anticompetitive terms in several other HSAs in Eastern

Wisconsin, even where AAH controls less than 5% of inpatient admissions.

ANSWER: AAH admits that it faces competition throughout Wisconsin. AAH further admits it

is a provider for nearby Illinois communities and self-funded plans based in Illinois. AAH

otherwise denies the allegations in this Paragraph and in Footnote 3.

       85.     These HSAs, combined with those that comprise AAH Monopolized Inpatient

Markets, comprise the Relevant Geographic Markets.

ANSWER: The allegations in this Paragraph are legal conclusions for which no response is

required. To the extent a response is required, AAH denies the allegations in this Paragraph.

       86.     In the Milwaukee HSA and nearby HSAs, AAH primarily faces competition from

two hospital systems: Froedtert and Ascension. Froedtert’s flagship facility is Froedtert Hospital

and the Medical College of Wisconsin, and Ascension’s flagship facility is Ascension Columbia

St. Mary’s Hospital. Both have higher safety ratings than AAH’s flagship St. Luke’s Hospital and

both are less than 20 minutes away from St. Luke’s. Yet, AAH’s inpatient and outpatient prices

are dramatically higher than either. As explained below, AAH’s supracompetitive prices are due




3
  AAH is also a provider for nearby Illinois communities and commercial health plans based in
Illinois. For example, AAH controls about 47% of inpatient admissions from Winthrop Harbor,
Illinois.


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        Case 2:22-cv-00610-LA Filed 10/30/23 Page 37 of 115 Document 50
to anticompetitive contracting and its abuse of its market power in other markets to extract rents

in Milwaukee.

ANSWER: AAH admits that it faces competition from Froedtert and Ascension. AAH lacks

knowledge or information sufficient to form a belief about the truth of the second and third

sentences in this Paragraph, and, on that basis, denies them. The remaining allegations in this

Paragraph are legal conclusions for which no response is required. To the extent a response is

required, AAH denies the remaining allegations in this Paragraph.

VI.     “AAH’S MARKET POWER”

        87.     AAH is the largest hospital system in all of Wisconsin and the dominant hospital

system in Eastern Wisconsin. AAH built its substantial market power through acquisitions,

aggressive contracting and negotiating, and other anticompetitive tactics. As explained below,

AAH’s market power is manifested in its ownership of specific “must-have” facilities, its

ownership of specialty facilities, its overall market share, and its ability to control prices.

ANSWER: AAH denies the allegations in this Paragraph.

        88.     Demand for the care provided by hospitals (and especially acute inpatient care) is

particularly inelastic because care is often necessary to prevent permanent injury or death and

generally cannot be obtained from far away geographies. While per capita demand for healthcare

may vary between markets based on demographics (younger communities require less healthcare,

for example), the demand within a specific market is much less variable.

ANSWER: The allegations in this Paragraph consist of generalized characterizations about

market demand for providers in support of Plaintiffs’ legal theories, which AAH denies. AAH

denies the allegations in this Paragraph on that basis.

        89.     Similarly, supply for medical care is particularly inelastic because of the difficulties

of constructing new facilities that provided such care (especially acute inpatient care facilities) and


                                         38
         Case 2:22-cv-00610-LA Filed 10/30/23 Page 38 of 115 Document 50
the lack of excess capacity (especially acute inpatient care capacity). Therefore, in a region with

only a few large providers of acute inpatient care and a lack of significant excess capacity, it is

practically impossible for a Network Vendor to indefinitely remove the largest hospital system

from its networks; there would simply not be enough alternative inpatient capacity to

accommodate all the Network Vendors’ plans’ members in need of lifesaving care. And

individuals would simply not be willing to enroll in a health plan lacking such a dominant hospital

system if there was a risk that changes to a network meant they were unable to receive in-network

care nearby because of capacity restraints.

ANSWER: The allegations in this Paragraph consist of generalized characterizations about

market demand for providers in support of Plaintiffs’ legal theories, which AAH denies. AAH

denies the allegations in this Paragraph on that basis.

       90.     Therefore, unlike in most industries, a hospital conglomerate with anticompetitive

goals that controls even a large plurality of inpatient care capacity in a region can force insurers

and consumers to accept prices and contractual terms that would only be possible for a monopolist

in other product markets. This is evidenced by the fact that hospital systems in other states with

only 40-50% of inpatient market share in a specific market but substantial operations across a

region have a documented ability to impose anticompetitive contractual provisions on Network

Vendors and health plans. For example, the North Carolina system that the U.S. Department of

Justice sued for forcing insurance plans to include anti-steering provisions was alleged to have

50% of the market for acute inpatient hospital services. While this is below the normal market-

share threshold for monopoly power in other industries, the hospital system nonetheless was able

to impose those vertical restraints because, practically speaking, insurance carriers in the Charlotte

area could not viably exclude that system from their networks.




                                         39
         Case 2:22-cv-00610-LA Filed 10/30/23 Page 39 of 115 Document 50
ANSWER: The allegations in this Paragraph consist of generalized characterizations about

market demand for providers in support of Plaintiffs’ legal theories, which AAH denies. AAH

denies the allegations in this Paragraph on that basis.

       91.     Similarly, for AAH, two Network Vendors told an employer in the Milwaukee

region that AAH was the “dominant player” who was able to force contractual terms on Network

Vendors, despite the fact that AAH does not have a majority of inpatient or outpatient market share

in the Milwaukee HSA.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegation that the two unidentified Network Vendors made the statements attributed to them and,

on that basis, denies them. AAH otherwise denies the allegations in this Paragraph.

       92.     AAH told a large Network Vendor in the context of a contract discussion that “you

need us more than we need you.” This indicates that AAH is both aware of its market power and

understands it can use that market power to force Network Vendors to accept terms they otherwise

would not, which it has done in all or nearly all negotiations with Network Vendors (including

those that operate commercial health plans) during the relevant period.

ANSWER: AAH denies the allegations in this Paragraph.

       A.      “AAH’s Ownership of ‘Must-Have’ Hospitals Provides Its Enormous Market
               Power”

       93.     Separate and apart from the systemwide market power AAH’s total regional

dominance gives it, AAH also has market power due to its control of several “must-have” facilities.

AAH controls a number of facilities that Network Vendors must include in their networks in order

to be viable for commercial health plans with significant members living near that AAH facility.

AAH hospitals in Burlington, Elkhorn, Hartford, Marinette, Two Rivers, and Sheboygan are

“must-have” facilities for many commercial health plans with a significant number of members



                                        40
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 40 of 115 Document 50
living near those facilities, and thus are “must-have” for Network Vendors seeking to offer or

operate plans in those geographies. This is evidenced both by their monopoly-level market share

of inpatient admissions in those communities and by the unwillingness of patients to travel long

distances for healthcare services.

ANSWER: AAH denies the allegations in this Paragraph.

       94.     A hospital system can obtain effective monopoly power for inpatient acute care in

geographic markets while holding a smaller percentage of market share than would be needed to

achieve monopoly power in many other industries. Many of these reasons are intuitive barriers to

entry: enormous financial, legal, and regulatory barriers to entry to building a new competitor

inpatient acute care hospital; difficulty of attracting specialized staff in a tight labor market

featuring non-competes (including those used by AAH); referral networks and medical records

rules that disadvantage new entrants. Others reasons are specific to the inpatient market: Because

there is limited excess capacity in most markets for inpatient acute care services (a large percentage

of empty beds can drive a hospital out of business) but demand that varies based on external events

(seasonal disorders, disease spikes, natural disasters, new substance abuse trends, etc.), it is

generally not practical for Network Vendors to have a hospital system with over 50% of inpatient

beds in a specific geographic market out-of-network in the long-term.

ANSWER: AAH denies the allegations in this Paragraph.

       95.     These facts are borne out by experience. As noted above, Atrium Health, a system

in North Carolina that AAH has now merged with, was able to impose anti-steering restrictions

despite “only” controlling 50% of the inpatient market. In Wisconsin, a Network Vendor and TPA

stated that it was not possible to assemble a viable network in a geography that excludes a hospital

system with only 50-60% inpatient market share in that geography. Insurers, Network Vendors,




                                         41
         Case 2:22-cv-00610-LA Filed 10/30/23 Page 41 of 115 Document 50
TPAs, and self-funded health plans elsewhere have made similar points about the must have nature

of systems with only 50-60% inpatient market share in other markets, and leading health care

economists have concluded that hospitals can have higher market power relative to their market

share than other industries. This means that a hospital system with over 50% inpatient market share

can have monopoly power and/or be a “must have” system in specific geographic markets.

ANSWER:       AAH admits that it merged with Atrium Health.            AAH lacks knowledge or

information sufficient to form a belief about the truth of the allegations that the unidentified

Network Vendors, insurers, TPAs, and self-funded health plans made the statements attributed to

them and, on that basis, denies them. AAH otherwise denies the allegations in this Paragraph.

       96.     As explained previously, there are also rural communities—like those in Kewaunee

County or northern Marinette County, for example—where reaching a non-AAH inpatient facility

would involve the practical impediment of driving long distances directly past an AAH hospital.

ANSWER: AAH denies the allegations in this Paragraph.

       97.     As explained below, AAH has explicitly told Network Vendors that if they want an

AAH facility in any one of their networks, they must include all relevant AAH facilities in every

plan using any network. It was possible for AAH to make this demand (and the demand is credible

with Network Vendors) because (1) AAH owns least some facilities that it knew health plans

needed in their networks, i.e., must-have facilities, and (2) AAH has systemwide power throughout

Eastern Wisconsin that makes it indispensable to any significant network.

ANSWER: AAH denies the allegations in this Paragraph.




                                        42
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 42 of 115 Document 50
       B.      “AAH’s Ownership of Many Specialty Services in Eastern Wisconsin
               Increases Its Market Power”

       98.     For some specialized procedures, AAH touts its regional or statewide status as the

“only” provider of many of these services. For commercial health plans, that makes the inclusion

of some AAH facilities necessary to accommodate particularized needs.

ANSWER: AAH denies the allegations in this Paragraph.

       99.     For example, Aurora Healthcare Centers for Comprehensive Wound Care &

Hyperbaric Medicine includes the only center in Washington County offering hyperbaric oxygen

therapy. And Aurora St. Luke’s, in Milwaukee, is the only hospital in the region with a 24/7 on-

site heart-care team. AAH operates the only psychiatric hospital in Sheboygan.

ANSWER: AAH admits that the Aurora Healthcare Centers for Comprehensive Wound Care &

Hyperbaric Medicine offer hyperbaric oxygen therapy and that Aurora St. Luke’s has a 24/7 on-

site heart-care team. AAH further admits that AAH operates a psychiatric hospital in Sheboygan.

AAH lacks knowledge or information sufficient to form a belief about the truth of the remaining

allegations in this Paragraph.

       100.    In other cases, an AAH hospital’s specialty services may make it difficult

commercial health plans to accept a network that excluded the hospital with those services. For

example, one AAH hospital has the equipment necessary for the treatment of most kidney stones

whereas the closest non-AAH hospital does not. Members of a health plan who have a history of

kidney stones would resist participation in a plan that didn’t include the only nearby facility with

equipment used to treat kidney stones.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph and, on that basis, denies them.




                                        43
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 43 of 115 Document 50
VII.   “AAH’S ANTICOMPETITIVE CONDUCT”

       A.      “AAH Imposes ‘All Or Nothing’ and ‘All Plans’ Contract Language and Uses
               Other Tactics to Force Inclusion of Its Overpriced Hospitals in Insurance
               Networks”

       101.    AAH uses its overall market power in Eastern Wisconsin to extract higher prices

even at its facilities that face significant competition. If a Network Vendor seeks to include an

AAH facility that it needs to build a viable network, AAH forces the network to also include

facilities and outpatient providers that the vendor does not want in its network. On information

and belief, AAH has done so in all or nearly all of its negotiations with Network Vendors during

the relevant period, thus affecting the vast majority of the market.

ANSWER: AAH denies the allegations in this Paragraph.

       102.    According to a Milwaukee Journal Sentinel investigation in late 2018, “The

variation in prices also has drawn attention to ‘all-or-nothing’ clauses that require health plans to

include all of a health system’s hospitals in a network and that bar health plans from placing the

hospitals in a tier that requires higher cost-sharing. Aurora Healthcare, now part of Advocate

Aurora Health, has long had those clauses in its contracts.” Such all-or-nothing clauses are a

vertical restraint that AAH has imposed on commercial health plans and Network Vendors, like

Anthem, UnitedHealth, Cigna, Quartz, Common Ground Healthcare, Trilogy, Aetna, Humana, and

others, and which these firms would not agree to but for AAH’s demand that they do so.

ANSWER: To the extent that the allegations in this Paragraph refer to statements from a

Milwaukee Journal Sentinel article, AAH respectfully refers the Court to that article for an accurate

and complete statement of its contents. AAH also respectfully refers the Court to its Network

Vendor agreements, as those contracts speak for themselves.            AAH otherwise denies the

allegations in this Paragraph.




                                        44
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 44 of 115 Document 50
       103.    AAH has gone as far as to sue health plans that attempt to only include some of its

hospitals in their networks for violating the all-or-nothing clauses that AAH forces Network

Vendors to accept in their contracts. In a suit that was confidentially settled in 2007, AAH stated

that its contracts require that all AAH facilities be included in all of a Network Vendor’s

commercial health plans or none of them can be. AAH sued WPS, a commercial health insurer

and Network Vendor, for “operating and marketing of plans without Aurora providers in violation

of our agreement.”

ANSWER: To the extent that the allegations in this Paragraph refer to pleadings from decades-

old litigation between AAH’s predecessors and WPS, AAH respectfully refers the Court to the

pleadings in that litigation for an accurate and complete statement of their contents. AAH

otherwise denies the allegations in this Paragraph.

       104.    According to that AAH contract, WPS agreed to “Identify all AURORA

Participating Providers as Participating Preferred Providers in all WPS Plans within Aurora’s

defined service area of Eastern Wisconsin.” Therefore, not only does AAH force “all-or-nothing”

contract language on Network Vendors for any given commercial health plan—it also insists that

even if a Network Vendor needs to include just one AAH provider in one network, the Network

Vendor must include all AAH inpatient and outpatient providers in every plan it offers, including

all networks offered to commercial health plans. This “all-plans” condition is a vertical restraint

that enables AAH to extract supracompetitive rents even in markets where it does not have a

dominant market share. And AAH makes its “all-plans” condition clear in the definitions appendix

to its contracts: The WPS/AAH contract stated explicitly that “‘Plan’ shall include individual

health insurance policies, group health insurance certificates issues by WPS and self-insured plans

administered by WPS,” meaning that the exact same restraints applies to the Network Vendor if it




                                        45
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 45 of 115 Document 50
sells its network to other commercial health plans or if it operates its own commercial health plan.

Elsewhere throughout the case, AAH confirmed that it imposed the restraint on WPS with the goal

of it applying identically to all commercial health plans including commercial self-funded health

plans and commercial health plans operated by the Network Vendor. On information and belief,

AAH continues to use similar contract language and has used such language in contracts with most

Network Vendors during the relevant period. Network Vendors would prefer not to include the

all-plans restraint in their contracts with AAH, but AAH is able to force them into accepting the

term due to its market power.

ANSWER: To the extent that the allegations in this Paragraph refer to pleadings from decades-

old litigation between AAH’s predecessors and WPS, AAH respectfully refers the Court to the

pleadings in that litigation for an accurate and complete statement of their contents. AAH

otherwise denies the allegations in this Paragraph.

       105.    But for AAH’s all-plans requirement, commercial health plans and Network

Vendors would develop plans that did not include AAH (or at least did not include all of its

facilities) in-network, which would force AAH to compete with rival providers on price and quality

of care. By eliminating that method of competition, AAH has substantially foreclosed competition

in the relevant markets.

ANSWER: AAH denies the allegations in this Paragraph.

       106.    This foreclosure is substantial, moreover, because AAH has forced all or nearly all

Network Vendors to accept its all-or-nothing and all-plans restrictions for all commercial health

plans. According to WPS, AAH forces all or nearly all insurance companies and Network Vendors

to agree to the same all-or-nothing terms, and “every other major health insurer with which Aurora

has contracted, including United Health Group, Inc., WellPoint Health Networks, Inc., Humana,




                                        46
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 46 of 115 Document 50
Inc., Aetna, Inc., and others, has been forced to accede to Aurora’s anticompetitive interpretation

of the all-plans requirement, regardless of the specific text of that requirement in their respective

contracts.” “Others” clearly refer to other smaller network vendors than those named, which

includes Cigna, Trilogy, Common Ground Healthcare, Quartz, and other Wisconsin-specific

network vendors. Thus, these vertical restraints have foreclosed a substantial amount of commerce

in AAH’s service area. AAH’s forced imposition of the all-plans requirement on just the entities

named by WPS represents a restraint that has foreclosed competition for in vast majority of the

health insurance market in Eastern Wisconsin.

ANSWER: To the extent that the allegations in this Paragraph refer to pleadings from decades-

old litigation between AAH’s predecessors and WPS, AAH respectfully refers the Court to the

pleadings in that litigation for an accurate and complete statement of their contents. AAH

otherwise denies the allegations in this Paragraph.

       107.    AAH treats these all-or-nothing and all-plans clauses as non-negotiable and forces

them on Network Vendors. A consultant who has negotiated contracts with AAH stated that

AAH’s negotiating posture on its anticompetitive contractual terms is, “you either sign it or we

don’t do business.”

ANSWER: AAH denies the allegations in this Paragraph.

       108.    A 2006 report by the Milwaukee Journal Sentinel noted that, “Aurora’s contracts

go further [than most hospital systems]: They generally require Aurora hospitals to be included in

every health plan offered by an insurer or administrator.” An August 2022 analysis of AAH’s

currently accepted insurance coverage materials and of several network vendors listed in-network

providers indicates that AAH appears to have an all-plans requirement on nearly all network

vendors. Additionally, an analysis of several major Network Vendors – including WPS, Trilogy,




                                        47
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 47 of 115 Document 50
Cigna, and others – indicates that Network Vendors continue to either include all overpriced AAH

facilities in all their networks/plans or none in any. This structure is contrary to their economic

interest and that of their clients and cannot be explained absent AAH’s contractual restrictions like

its all-plans requirement.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph, including with respect to the purported “Milwaukee Journal Sentinel”

report and the “August 2022 analysis,” and, on that basis, denies them.

       109.    By virtue of its overall market power and/or its market power over acute inpatient

hospital services in certain key regions, AAH can and does impose its all-or-nothing and all-plans

conditions to force Network Vendors (and by extension commercial health plans) to include

outpatient medical services in their networks at supracompetitive rates. For example, AAH

cancelled its entire contract with a Network Vendor because, according to AAH, the Network

Vendor sought a “carve-out” for radiology. In a competitive market and absent AAH’s restraints,

TPAs, Network Vendors, and/or and commercial health plans would normally use these kinds of

carve outs to encourage members/employees to seek lower cost outpatient care from non-AAH

providers. But AAH forces its all-or-nothing and all-plans vertical restraints on Network Vendors

and commercial health plans to suppress this type of competition.

ANSWER: AAH denies the allegations in this Paragraph.

       110.    These terms are forced on Network Vendors who have to accept them because of

AAH’s market power. As Wisconsin Physicians Service, a prominent Network Vendor and

commercial health plan, wrote, “If Aurora had not possessed market power sufficient to condition

WPS’s access to those markets upon WPS’s acceptance of the Agreement’s anticompetitive terms

and conditions, WPS would not have signed the Agreement.”




                                        48
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 48 of 115 Document 50
ANSWER: To the extent that the allegations in this Paragraph refer to pleadings from decades-

old litigation between AAH’s predecessors and WPS, AAH respectfully refers the Court to the

pleadings in that litigation for an accurate and complete statement of their contents. AAH

otherwise denies the allegations in this Paragraph.

        B.      “AAH Punishes Innovative Insurance Products to Suppress Competition”

        111.    AAH has also aggressively used its market power to suppress the introduction of

innovative insurance products in Wisconsin. Absent AAH’s successful efforts to foreclose the

entrance of these cost-saving products, commercial health plans in Wisconsin would be paying

significantly less for health care.

ANSWER: AAH denies the allegations in this Paragraph.

        112.    For example, effective October 1, 2020, AAH implemented a “policy” conveying

to TPAs that it refuses to accept payment from or even submit claims to self-funded health plans

that use “reference-based pricing.” Health plans that use reference-based pricing base their

payments to hospital systems on a percentage above the hospital’s Medicare rates. 4 Plans with

reference-based pricing allow hospitals to make a significant profit but limit the ability of hospitals

to charge supracompetitive prices relative to an accepted and government approved baseline (i.e.,

the Medicare rate, which itself is calculated to ensure a hospital makes a profit on each service).

These plans also promote competition by encouraging providers to compete on the basis of their

price relative to a well-established baseline.




4
  AAH itself makes a profit on Medicare’s rates, as detailed in recent comprehensive, independent
research that evaluated hospital profitability. Reference-based pricing plans pay a large percentage
above Medicare’s rates.


                                         49
         Case 2:22-cv-00610-LA Filed 10/30/23 Page 49 of 115 Document 50
ANSWER: AAH denies the allegations in the first sentence and in Footnote 4 of this Paragraph.

AAH lacks knowledge or information sufficient to form a belief about the truth of the remaining

allegations in this Paragraph and, on that basis, denies them.

       113.    In addition to pressuring Plaintiff Hometown, Plaintiff Uriel, other plans, and TPAs

to avoid using innovative plans, AAH will actually turn down payment checks sent from health

plans using reference-based pricing. On information and belief, AAH forgoes immediate profit

because it seeks to make these plans non-viable in the areas where AAH operates. Thus, AAH is

consciously forgoing profit in the short term to achieve its long-term goal of suppressing

competition.

ANSWER: AAH denies the allegations in this Paragraph.

       114.    And AAH has created specific administrative burdens for the individual

beneficiaries of plans using reference-based pricing, including refusing to provide standard forms

and documentation. On information and belief, this action was taken to prevent beneficiaries from

accessing their plan benefits in order to undermine innovative plans.

ANSWER: AAH denies the allegations in this Paragraph.

       115.    AAH has also conveyed to representatives of a self-funded plan that it will not

directly negotiate with the plan, creating another barrier to innovative insurance products.

ANSWER: AAH denies the allegations in this Paragraph.

       116.    In another example, in 2008 AAH allegedly pressured a Network Vendor to stop

doing business with a TPA and health plans that AAH disfavored. AAH then falsely told members

of plans administered by that TPA that they would be refused service by AAH providers, even if

they were existing patients of AAH. On information and belief, AAH engaged in this and other

extreme measures that in the short term appear economically irrational and harmful to AAH’s




                                        50
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 50 of 115 Document 50
reputation with the goal of eliminating innovative insurance products from the Eastern Wisconsin

area. And, on information and belief, the Network Vendor agreed to AAH’s demand to cancel a

lucrative contract with a health plan only because of credible threats from AAH to use its market

power to punish the Network Vendor more broadly. Since then, AAH’s market power – and

therefore its ability to impose such restraints on Network Vendors – has grown substantially. And

it has continued forcing these restraints on them.

ANSWER: AAH denies the allegations in this Paragraph.

       117.    In previous years, AAH has taken other efforts to punish Network Vendors

attempting to offer innovative insurance products. In one example, AAH sought to punish a

network that did not include AAH facilities. In response to the creation of a narrow network that

excluded AAH, AAH created a new insurance product that would cover the costs for members of

the narrow network who used AAH’s “out-of-network” facilities for only $20. This scheme, which

effectively amounts to predatory pricing, would eliminate the incentives for members of plans

using the narrow network to visit lower cost non-AAH providers. An insurer alleged that AAH

was offering a money-losing product with the intent of eliminating the narrow network: “It’s

clearly a proposal not designed to be self-sufficient.” This is another way AAH appears to engage

in non-economic decision making for the purpose of suppressing competition.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in the third sentence of this Paragraph and, on that basis, denies them. AAH otherwise

denies the allegations in this Paragraph.

       118.    Given that many employers wish to use reference-based pricing and that they would

significantly reduce what employers pay for healthcare, AAH’s refusal to accept payment from

such plans and discrimination against them forecloses a substantial amount of competition.




                                        51
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 51 of 115 Document 50
ANSWER: AAH denies the allegations in this Paragraph.

       C.      “AAH Engages In ‘Anti-Steering’ and ‘Anti-Tiering’”

       119.    During the relevant time-period, AAH forced most Network Vendors, health plans,

or TPAs to accept anti-steering, anti-tiering, and similar exclusionary provisions in contracts that

prevent Network Vendors from designing networks that would result in expanded choice and/or

significant cost savings for commercial health plans.

ANSWER: AAH denies the allegations in this Paragraph.

       120.    Through its coercive contracting practices, AAH deliberately limits the use of

tiering by commercial health plans in order to lessen the competition it faces from rivals offering

lower prices and higher quality.

ANSWER: AAH denies the allegations in this Paragraph.

       121.    Anthem, one of the largest insurers and Network Vendors in Wisconsin, told a local

self-funded health plan that “due to their contracts with the dominant player, which is Aurora,” it

was barred from allowing local employers to offer tiered health plans that would incentivize

employees to seek out lower cost, higher quality care. Through this action, AAH was forcing self-

funded health plans to pay AAH’s supracompetitive rates more often than they would have

otherwise.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegation that an Anthem representative made the statements attributed to Anthem and, on that

basis, denies that allegation. AAH otherwise denies the allegations in this Paragraph.

       122.    UnitedHealthcare, also one of the largest insurers and Network Vendors in

Wisconsin, told the same health plan that they were barred by AAH from allowing local employers

to offer tiered health plans that would incentivize employees to seek out lower cost, higher quality




                                        52
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 52 of 115 Document 50
care. Through this action, AAH was forcing self-funded health plans to pay AAH’s

supracompetitive rates more often than they would have otherwise.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegation that a UnitedHealthcare representative made the statements attributed to

UnitedHealthcare and, on that basis, denies that allegation. AAH otherwise denies the allegations

in this Paragraph.

       123.    Notably, AAH’s ability to force two of the country’s largest insurance companies

to accept such onerous, anticompetitive terms is itself evidence of the dominant market power

AAH enjoys throughout its entire service area. On information and belief, AAH’s imposition of

these anti-tiering restrictions on large commercial health plans and Network Vendors like Anthem

and UnitedHealth (and ones like WPS), reflect its ability to impose these restrictions on all or

nearly all Wisconsin commercial health plans and Network Vendors, including Cigna, Common

Ground Healthcare, Trilogy, Quartz, Aetna, Humana, and others, thus foreclosing the competition

steering would create throughout all or nearly all of the market.

ANSWER: AAH denies the allegations in this Paragraph.

       124.    Indeed, the restraints AAH imposes on insurers foreclose competition in a

significant portion of the market, when measured by the market shares of the Network Vendors

AAH has coerced into accepting these restrictive terms. Anthem and UnitedHealth control 69% of

the commercial health insurance market in Greater Milwaukee-Waukesha (which includes the

Milwaukee HSA, West Allis HSA, Hartford HSA, Port Washington HSA, parts of the

Oconomowoc HSA, parts of the West Bend HSA, the Cudahy HSA, the Menomonee Falls HSA

and the Brookfield HSA); 62% of the commercial health insurance market in Greater Sheboygan

(which includes the Sheboygan HSA and the Plymouth HSA), 52% of the commercial health




                                        53
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 53 of 115 Document 50
insurance market in Greater Green Bay (which includes the Green Bay HSA and the Kewaunee

HSA); and 57% of the commercial health insurance market in Greater Oshkosh-Neenah (which

includes the Oshkosh HSA and parts of the Berlin HSA). As noted above, similar restrictions have

been placed on WPS, which controls at least 2% of the statewide health insurance market (higher

in Eastern Wisconsin since several WPS networks are not sold in Northwestern Wisconsin). And

other data indicates that Anthem, UnitedHealth, and WPS combined control about 50% of the

insurance market statewide with a higher percentage in Eastern Wisconsin, covering all Relevant

Market HSAs. WPS also stated that it and “every other major health insurer with which Aurora

has contracted, including United Health Group, Inc., WellPoint Health Networks, Inc., Humana,

Inc., Aetna, Inc., and others, has been forced to accede to Aurora’s anticompetitive interpretation

of the all-plans requirement, regardless of the specific text of that requirement in their respective

contracts.”

ANSWER: AAH denies the allegations in this Paragraph.

       125.    Thus, AAH’s documented imposition of its anticompetitive restraints on Anthem,

UnitedHealth, and WPS foreclose competition in substantially over 55% of the health insurance

market in all Relevant Markets in Eastern Wisconsin (and over 70% in the Milwaukee HSA and

other nearby HSAs). And the actual foreclosure percentage is much higher based on WPS’

statements and other evidence indicating that AAH’s restrictions are also imposed every other

major health insurer, including Aetna, Humana, WellPoint, Common Ground Healthcare, Trilogy,

Cigna, and others. These insurers collectively insure the vast majority of Wisconsinites, and they

are prevented by AAH from using normal incentives and innovative insurance products to

encourage competition among healthcare providers. AAH’s conduct has thus foreclosed a

substantial amount of competition.




                                        54
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 54 of 115 Document 50
ANSWER: AAH denies the allegations in this Paragraph.

       126.     Another way AAH limits tiering is by insisting that it be in the top tier of any tiered

plan, even if it is a low-value provider relative to others. For example, in a review of several large

national and regional commercial health plans, AAH facilities are all listed in the top tier despite

being higher-cost than nearby competitors. This can only be explained by AAH forcing Network

Vendors and TPAs to include its facilities in a plans top tier, regardless of price or quality —

thereby defeating the purpose of creating a tiered plan in the first place. This results in commercial

health plans paying AAH’s supracompetitive prices more often than they would absent AAH’s

conduct.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph relating to an unidentified “review of several large national and

regional commercial health plans,” and, on that basis, denies them. AAH otherwise denies the

allegations in this Paragraph.

       127.     AAH forces commercial health plans to include AAH in the top tier by threatening

that it would otherwise not allow any AAH facilities or outpatient providers to be included in the

plan at all, which would make the plan non-viable in many key markets. An AAH contract

specifically states that for any plan offered by a TPA, the plan “shall . . . [i]dentify all AURORA

Participating Providers as Participating Preferred Providers.” (emphasis added). A separate AAH

contract in 2020 stated that: “All participating providers affiliated with Members [defined as

including AAH facilities] shall be treated as a Tier 1 (or the equivalent) provider with the highest

level of benefit plan paid for reimbursement of healthcare services in all products offered unless a

Member opts out of Tier 1 status or participation in such product offerings.” The intent and

practical impact of these clauses is to limit the ability of health plans to honestly communicate




                                           55
           Case 2:22-cv-00610-LA Filed 10/30/23 Page 55 of 115 Document 50
about the availability of lower-cost, higher value care available at non-AAH providers in

Wisconsin, causing health plans to pay AAH’s supracompetitive prices for care more often than

they would absent AAH’s conduct. These provisions also block rival providers from a primary

cost-effective means of competing on price and quality since AAH bars Network Vendors from

rewarding rival providers that offer higher value services with a higher tier than AAH. And they

undermine commercial health plans’, Network Vendors’, and TPAs’ attempts to develop lower-

cost tiered network options to compete with their rivals.

ANSWER: To the extent that the allegations in this Paragraph refer to AAH’s contracts with an

unidentified Network Vendor, AAH respectfully refers the Court to the contracts for an accurate

and complete statement of their contents. AAH otherwise denies the allegations in this Paragraph.

       128.    AAH also engages in other kinds of anti-steering and exclusionary conduct that

prevents Network Vendors from designing networks that would result in expanded choice and/or

significant cost savings for commercial health plans. For example, AAH has in the past prevented

a Network Vendor that wanted to direct patients to non-AAH radiology centers (presumably

because of their lower cost) from accessing any of AAH’s network. Based on AAH’s uniform

imposition of other restrictions like anti-tiering and all-or-nothing on all or nearly all commercial

health plans, on information and belief, AAH imposes these same types of anti-steering and

exclusionary provisions on all or nearly all Network Vendors and commercial health plans. This

includes networks sold by and health plans operated by Aetna, Cigna, Humana, Trilogy, Common

Ground Healthcare, Wisconsin Physicians Service, United Healthcare, Quartz, and others.

ANSWER: AAH denies the allegations in this Paragraph.

       129.    In addition to undermining the tiered commercial health plans that do exist, AAH’s

aggressive anti-tiering practices also mean that Network Vendors will decline to introduce tiered




                                        56
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 56 of 115 Document 50
networks in the first place because they would serve little purpose in a market where AAH is a

major provider. For example, Trilogy, Cigna, Wisconsin Physician Service and other network

vendors do not offer tiered networks in AAH service areas despite some of them offering tiered

plans outside of AAH’s service area. This results in commercial health plans paying AAH’s

supracompetitive prices more often than they would in a competitive market with more tiered

plans.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in the second sentence of this Paragraph and, on that basis, denies them. AAH denies

the remaining allegations in this Paragraph.

         130.   Because steering practices, tiered plans, and other elements of plan design that

AAH’s restraints prohibit are common cost-saving tools that most commercial health plans and

Network Vendors would engage in absent AAH’s restraints, AAH’s conduct prohibiting

purchasers from engaging in this conduct forecloses a substantial amount of competition.

ANSWER: AAH denies the allegations in this Paragraph.

         D.     “AAH Uses Non-Competes, Referral Restrictions, and Other Tactics to
                Suppress Competition and Increase Prices”

         131.   AAH has forced physicians to agree to onerous non-compete agreements that limit

their ability to work for other hospital systems in Wisconsin or to open independent practices. This

anticompetitive practice drives up prices for commercial health plans because it precludes

numerous potential lower-cost independent providers from operating. It also increases prices by

artificially creating a tighter labor market for physicians, creating an impediment to rival hospital

systems opening new locations to compete with AAH.

ANSWER: AAH denies the allegations in this Paragraph.

         132.   AAH’s non-competes have been found by a Wisconsin court to be unlawful.



                                          57
          Case 2:22-cv-00610-LA Filed 10/30/23 Page 57 of 115 Document 50
ANSWER: To the extent that the allegations in this Paragraph refer to an uncited judicial decision

by the Milwaukee County Circuit Court, AAH respectfully refers the Court to the decision of the

Milwaukee County Circuit Court for an accurate and complete statement of its holding. AAH

otherwise denies the allegations in this Paragraph.

        133.    For example, in one case, AAH attempted to enforce an aggressive non-compete

against a family practice physician. Family practice is a very competitive market where providers

compete for patients. It also is a practice that can generate a significant amount of business for a

hospital due to referrals.

ANSWER: AAH denies the allegations in this Paragraph.

        134.    In this instance, AAH attempted to enforce a non-compete to prevent a family

practice doctor from practicing, even though the non-compete only covered urgent care. Despite

the physician not having provided urgent care in decades, AAH sought to bar them from practicing

even in a different field. The Milwaukee County Circuit Court found AAH’s non-compete

provisions unenforceable.

ANSWER: To the extent that the allegations in this Paragraph refer to an uncited judicial decision

by the Milwaukee County Circuit Court, AAH respectfully refers the Court to the pleadings and

decision of the Milwaukee County Circuit Court for an accurate and complete statement of its

holding. AAH otherwise denies the allegations in this Paragraph.

        135.    AAH’s non-competes have eliminated or suppressed competition in the family

practice market and, on information and belief, the same type of non-competes have eliminated or

suppressed competition in other outpatient services.

ANSWER: AAH denies the allegations in this Paragraph.




                                         58
         Case 2:22-cv-00610-LA Filed 10/30/23 Page 58 of 115 Document 50
       136.    AAH also forces onerous non-competes on physicians it acquires from other

practices. For example, as part of its abandoned effort to purchase a hospital chain in Michigan,

AAH insisted that many doctors of the acquired hospitals would be required to sign a non-compete

preventing them from working for any other hospital system within 35-miles for at least three

years. The long duration and broad geographic limitations of such coerced non-competes result in

substantial reductions in competition in markets where AAH acquires facilities by preventing the

entry of new provider competitors and limiting the options for members of commercial health

plans to seek higher value care at non-AAH facilities.

ANSWER: AAH denies the allegations in this Paragraph.

       137.    A medical professional who has worked at both AAH and Froedtert remarked in an

online post that AAH “is known for problematic non-compete agreements.”

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegation that the unidentified medical professional made the statements attributed to him or her

and, on that basis, denies that allegation. AAH otherwise denies the allegations in this Paragraph.

       138.    Beyond non-competes, AAH also forces anti-competitive terms on independent

physicians who work in its facilities.

ANSWER: AAH denies the allegations in this Paragraph.

       139.    For example, according to a 2013 lawsuit, in an apparent effort to punish

independent physicians who do not agree to directly affiliate with AAH, AAH instituted a policy

that required 24-hour a day, 7-day a week continuous call coverage for independent physicians

and then denied the independent physicians the ability to seek backup call coverage from another

physician. If independent physicians did not agree to these “nearly impossible conditions,” AAH




                                        59
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 59 of 115 Document 50
would refuse to renew medical staff privileges. Meanwhile, AAH’s own employed physicians

were allowed to exchange call coverage or seek backup call coverage.

ANSWER: To the extent that the allegations in this Paragraph refer to pleadings from decade-old

litigation, AAH respectfully refers the Court to the pleadings in that litigation for an accurate and

complete statement of their contents. AAH otherwise denies the allegations in this Paragraph.

       140.    According to a local physician, this policy encouraged the “systematic elimination

of independent physicians by Aurora” and “reduced the overall output of family practice

physicians for patients” in the Oshkosh market.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegation that the unidentified local physician made the statements attributed to him or her and,

on that basis, denies that allegation. AAH otherwise denies the allegations in this Paragraph.

       141.    The American Academy of Family Physicians criticized AAH’s policy saying it

was “unreasonable and contrary to good practices and federal law.”

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph, including with respect to the purported statements of The American

Academy of Family Physicians, and, on that basis, denies them.

       142.    Moreover, in 2018, AAH agreed to settle claims that it illegally overpaid two

physicians so that they would keep referrals within the AAH system.

ANSWER: AAH admits that in 2018, AAH settled claims alleging violations of the False Claims

Act for allegedly submitting claims to Medicare and Medicaid in violation of the Stark law, without

admitting liability. AAH otherwise denies the allegations in this Paragraph.

       143.    AAH has engaged in other practices to aggressively limit physicians from referring

outside of the AAH system to competitors. For example, during an acquisition of a group of




                                        60
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 60 of 115 Document 50
outpatient providers, AAH insisted that, as part of the acquisition, it be able to impose a provision

that would require the acquired providers to “exclusively” refer to AAH facilities. And as a

Wisconsin newspaper columnist wrote, more broadly, “Aurora Health Care has set the standard

by buying up physician practices and clinics and forcing doctors to send patients to Aurora’s

hospitals.” These practices drive up costs and reduce quality for commercial health plans by

preventing physicians from referring patients to the highest value care. And they limit the ability

of independent specialty providers to compete by cutting off a source of referrals. This coercion

of physicians to force referrals to overpriced AAH hospitals is an abuse of AAH’s market power

that raises prices for commercial health plans and is another way AAH forecloses competition.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph, including with respect to the purported statements of a “Wisconsin

newspaper columnist,” and, on that basis, denies them.

       144.    Because absent AAH’s anticompetitive conduct independent physicians would

compete for patients and would assist other hospitals in competing for referrals, AAH’s restrictions

have foreclosed a substantial amount of competition.

ANSWER: AAH denies the allegations in this Paragraph.

       E.      “AAH Uses Gag Clauses to Suppress Competition and Further Its Other
               Anticompetitive Schemes”

       145.    AAH insists on strict gag clauses with Network Vendors that limit their ability to

disclose anticompetitive contract terms. These gag clauses have also been used by AAH to prevent

self-funded health plans from knowing the price for AAH’s services before the provision of care.

This directly suppresses price competition.

ANSWER: AAH denies the allegations in this Paragraph.




                                        61
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 61 of 115 Document 50
       146.    The Wall Street Journal identified AAH as among several hospital systems in the

United States that use “secret contract terms” to prevent transparency on prices and quality.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph, including with respect to the purported “Wall Street Journal” article,

and, on that basis, denies them.

       147.    In properly functioning markets pricing information is freely available, allowing

purchasers to determine the prices they will be obligated to pay their suppliers if they purchase the

suppliers’ products and services. The ability to determine the amount of the purchase price before

the purchase decision is made allows the customer to compare the prices offered by various

competitors and allows the purchase decision to be influenced by price competition.

ANSWER: The allegations in this Paragraph consist of generalized characterizations about

market demand for providers in support of Plaintiffs’ legal theories, which AAH denies. AAH

denies the allegations in this Paragraph on that basis.

       148.    AAH has required terms in its agreements with Network Vendors that forbid them

from disclosing the allowed amounts that AAH has negotiated. A Network Vendor in Wisconsin

stated that negotiated prices between Network Vendors and AAH are, “a closely guarded secret”

and “subject to confidentiality restrictions” in AAH’s contracts. AAH’s gag clauses also forbid

disclosure of other, non-price terms.

ANSWER: AAH admits that Network Vendor agreements, like many commercial contracts, often

contain ordinary course confidentiality provisions.       AAH lacks knowledge or information

sufficient to form a belief about the truth of the allegation that the unidentified Network Vendor

made the statements attributed to it, and, on that basis, denies it. AAH otherwise denies the

allegations in this Paragraph.




                                        62
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 62 of 115 Document 50
        149.    On information and belief, these gag clauses are partially intended to prevent

knowledge or scrutiny of other anticompetitive contracting terms like all-or-nothing, all-plans,

anti-tiering, anti-steering, and contract termination penalties.

ANSWER: AAH denies the allegations in this Paragraph.

        150.    Because AAH’s gag clauses prevented health plans and their enrollees from

determining what they will be obligated to pay AAH for healthcare services (and how much those

prices exceed the prices charged by AAH’s nearby competitors), TPAs and health plans are less

able to exert commercial pressure on AAH to moderate its inflated pricing by sending members to

other providers. 5

ANSWER: AAH denies the allegations in this Paragraph and in Footnote 5.

        151.    AAH’s use of gag clauses and other anticompetitive terms has effectively

undermined price competition for healthcare in the Wisconsin markets AAH serves and foreclosed

a substantial amount of competition. These gag clauses also substantially reduced AAH’s rivals’

incentives to compete on price because a rival providing a lower price product will not necessarily

attract consumers to select the rival’s product if consumers are barred from knowing the price of

AAH’s products relative to the rival.

ANSWER: AAH denies the allegations in this Paragraph.

        F.      “The Combination of AAH’s Anticompetitive Conduct is Especially Harmful”

        152.    AAH’s market power aggravates the anticompetitive nature of its contracting and

negotiating tactics. The forced imposition of all-or-nothing and all-plans conditions, as well as


5
  These provisions also inhibited Network Vendors’ ability to offer cost-efficient products for
commercial health plans because AAH’s gag clauses prevented Network Vendors from knowing
anything about the relative prices they are negotiating. Discussing AAH’s contracts, a Network
Vendor in Wisconsin said that knowing its own negotiated rates are only useful, “assuming it can
learn something about its competitors’ deals with that same provider.” AAH’s gag clauses
foreclosed that relative comparison and the competition that would result.


                                         63
         Case 2:22-cv-00610-LA Filed 10/30/23 Page 63 of 115 Document 50
anti-tiering and anti-steering provisions is problematic any time it is imposed on Network Vendors,

TPAs, and commercial health plans by a dominant provider, because each such contractual term

limits the ability of payers, employers, and patients to competitively select healthcare options.

However, in the context of a hospital system with both significant market power and monopoly

facilities, these contract provisions have an especially harmful impact on price and quality. This is

particularly true—and such restrictions are particularly anticompetitive—when they are forced on

nearly all commercial health plans, Network Vendors, and TPAs in the region, against their will.

That is exactly what AAH has done.

ANSWER: AAH denies the allegations in this Paragraph.

       153.    Importantly, each of AAH’s anticompetitive restrictions on commercial health

plans, Network Vendors, and TPAs cause greater harm in concert than any individual vertical

restraint would in isolation. For example, if AAH engaged only in all-or-nothing contracting but

did not impose anti-steering, anti-tiering, or gag clauses on Network Vendors, commercial health

plans could at least mitigate harm caused by AAH’s tying schemes by incentivizing patients to

obtain in-network care from one of AAH’s competitors. Thus, while each contractual restriction

described herein is unlawful in isolation, taken together their impact is especially harmful to

commercial health plans, as well as to AAH competitors.

ANSWER: AAH denies the allegations in this Paragraph.

       G.      “AAH’s Acquisition Strategy Suppresses Competition and Allows AAH to
               Impose Broader Anticompetitive Contractual Terms”

       154.    AAH has gone on an aggressive acquisition spree that increases its market power

and the leverage it holds over Network Vendors and commercial health plans. In 2020, AAH’s

CEO touted a “bold new strategy” to double AAH’s annual revenue by 2025 via mergers and




                                        64
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 64 of 115 Document 50
acquisitions. AAH’s Executive Vice President actually publicly stated that AAH’s intention is to

be a “multi-market consolidator.”

ANSWER: AAH denies the allegations in the first sentence of this Paragraph. To the extent that

the allegations in this Paragraph cite statements from AAH officers, AAH respectfully refers the

Court to those statements for an accurate and complete account of their contents. AAH otherwise

denies the allegations in this Paragraph.

       155.    This acquisition strategy has several self-reinforcing anticompetitive benefits for

AAH. First, AAH is able to impose higher prices at facilities it acquires than the previous owner

because of its use of the anticompetitive contracting terms described above. After AAH takes over

a new facility, it employs the anticompetitive contracting terms described above in negotiations

with Network Vendors at the newly acquired facility. For example, during a proposed AAH

takeover in Michigan, Crain’s Detroit Business summarized the arguments from AAH’s CEO as:

“Advocate Aurora wants Beaumont’s physicians to expand its managed care contracting strategy

with payers and employers to Michigan.” A May 2022 study supports the idea that affiliations and

acquisitions of independent physician practices – like those AAH has aggressively engaged in –

raise prices: “We found strong evidence that vertical integration and joint contracting between

physicians and large health systems during 2013–17 led to large increases in physician prices,

particularly for primary care physicians. Our findings complement a literature that has found

increases in physician prices associated with hospital acquisitions of physician practices.”

ANSWER: To the extent that the allegations in this Paragraph refer to an article in Crain’s Detroit

Business and a May 2022 study, AAH respectfully refers the Court to that article and study for an

accurate and complete statement of their contents, while denying the validity (as applicable) of




                                        65
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 65 of 115 Document 50
their methodology, characterizations, and conclusions. AAH otherwise denies the allegations in

this Paragraph.

       156.       Second, the newly acquired facilities further increase AAH’s leverage with

Network Vendors and health plans, thereby reinforcing AAH’s ability to force Network Vendors

and health plans to accede to anticompetitive contracting terms. As the CEO of AAH stated in

2020: “Every time we’ve scaled up, we’ve gotten stronger.” 6

ANSWER: To the extent that the allegations in this Paragraph cite statements from an AAH

officer, AAH respectfully refers the Court to those statements for an accurate and complete account

of their contents. AAH otherwise denies the allegations in this Paragraph.

       157.       Third, AAH leverages its market power to force newly acquired physicians and

facilities to refer to AAH, depriving health plans of the benefit of having their members referred

to the highest value provider and suppressing competition by eliminating a source of revenue for

AAH competitors. AAH executive Pat Trotter was explicit that AAH aims to “leverage” its overall

market power to control referrals in new markets it enters. The Appleton Post-Crescent described

AAH’s public statements: “Aurora, however, can leverage the advantages of its larger size by

referring patients to other in-system hospitals for care if they need it, Trotter said.”

ANSWER: To the extent that the allegations in this Paragraph cite statements from an AAH

executive, AAH respectfully refers the Court to those statements for an accurate and complete

account of their contents. AAH otherwise denies the allegations in this Paragraph.

       158.       This increased leverage is especially true when AAH acquires another “must have”

hospital facility. For example, in mid-2019, AAH purchased the only hospital in Marinette,



 6
  Bruce Murphy, Aurora Health Care Merger is Bad News, Urban Milwaukee (March 10,
 2020), available at: https://urbanmilwaukee.com/2020/03/10/murphys-law-aurora-health-care-
 merger-is-bad-news/


                                         66
         Case 2:22-cv-00610-LA Filed 10/30/23 Page 66 of 115 Document 50
Wisconsin which is now renamed Aurora Medical Center Bay Area. This facility is a must-have

hospital in both Wisconsin and Michigan.

ANSWER: AAH admits that in 2018 it opened a new hospital in Marinette, Wisconsin with a

joint venture partner, and that in 2019, AAH acquired the remaining equity, resulting in full

ownership of the hospital, which is now named Aurora Medical Center Bay Area. AAH otherwise

denies the allegations in this Paragraph.

       159.    AAH has also worked to acquire outpatient facilities and other non-hospital assets

that increase its market power. According to Fitch, a leading bonds rating agency, AAH now has

one of largest integrations of physicians of any firm in the hospital industry. Or, as a Wisconsin

newspaper columnist wrote, “Aurora Health Care has set the standard by buying up physician

practices and clinics and forcing doctors to send patients to Aurora’s hospitals.” 7

ANSWER: To the extent that the allegations in this Paragraph cite to statements by Fitch or from

a “Wisconsin newspaper columnist,” AAH respectfully refers the Court to those statements for an

accurate and complete statement of their contents. AAH otherwise denies the allegations in this

Paragraph.

       160.    This strategy of non-hospital acquisitions adds to AAH’s overall market power and

is part of its attempt to suppress competition for outpatient medical services in Eastern Wisconsin

and to ensure that members of commercial health plans are more likely to be directed to their high-

cost inpatient facilities. AAH executives appear to have hinted at this strategy publicly, with the

CEO of AAH saying in a 2020 article that growing AAH’s number of affiliated or employed

physicians is “our secret sauce,” with the article noting that the desired outcome for AAH was to




7
 Mark Belling, ‘Nonprofit’ hospital companies chase profits; Low-income patients orphaned
as hospitals build suburban palaces, Oconomowoc Enterprise (Apr. 12, 2018.)


                                        67
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 67 of 115 Document 50
get paid more.88 In 2021, the President of AAH’s buyout fund was remarkably candid about AAH’s

goals: “One way we measure that is what we call ‘share of wallet,’ which is a sort of a retail

measure of how many times and in what ways are we interacting with the people we serve beyond

just traditional care delivery, and does that generate more revenue?”

ANSWER: To the extent that the allegations in this Paragraph refer to statements from AAH

executives, AAH respectfully refers the Court to those statements for an accurate and complete

account of their contents. AAH otherwise denies the allegations in this Paragraph.

       161.    In 2008, AAH acquired Comprehensive Cardiovascular Care Group, which was

described as “the largest cardiology group in Wisconsin.” That acquisition resulted in the U.S.

Department of Justice alleging in 2018 that some of the acquired physicians’ “compensation

arrangements were not commercially reasonable . . . exceeded the fair market value of the

physicians’ services, took into account the physicians’ anticipated referrals, and was not for

identifiable services.” AAH subsequently settled the case for $12 million for the alleged

overcharges to government health programs resulting from its payments to physicians for referrals.

On information and belief, the same practice of compensating cardiologists and other specialists

in order to obtain more internal AAH referrals also has improperly increased prices for commercial

health plans. This occurs because AAH’s above-market payments to acquired physicians result in

them directing members of commercial health plans to higher-cost care at AAH facilities instead

of the best value care.

ANSWER: AAH admits that in 2008, it acquired Comprehensive Cardiovascular Care Group.

AAH further admits that AAH settled a lawsuit brought by the Department of Justice and the state




8
 Jay Greene, Why Aurora Advocate wants a Beaumont doctor, Crain’s Detroit Business (Sept. 7,
2020)


                                         68
         Case 2:22-cv-00610-LA Filed 10/30/23 Page 68 of 115 Document 50
of Wisconsin, relating to compensation arrangements with two physicians, for $12 million. To the

extent that the allegations in this Paragraph refer to statements from the Department of Justice

dating back to 2008, AAH respectfully refers the Court to those statements for an accurate and

complete account of their contents. AAH otherwise denies the allegations in this Paragraph.

       162.    In 2007, AAH announced a “broad affiliation agreement” with Advanced

Healthcare, a group of “250 primary care physicians and specialists providing care at 14 clinics

located in Milwaukee, Ozaukee, Washington and Waukesha counties.” On information and belief,

part of the reason for this affiliation was to eventually allow AAH to use its market power to

substantially raise prices paid by commercial health plans for services at these locations. Shortly

after the acquisition, local reporting indicated that AAH would impose its “all-or-nothing”

contracting on Network Vendors, forcing commercial health plans to include the facilities built to

house the newly acquired physicians from Advanced Healthcare in their networks if they needed

access to any part of the AAH system.

ANSWER: AAH admits that in 2007, it announced that it would affiliate with Advanced

Healthcare, which at the time had approximately 250 doctors practicing at 14 clinics. To the extent

that the allegations in this Paragraph refer to unidentified local reporting, AAH lacks knowledge

or information sufficient to form a belief about the truth of those allegations and, on that basis,

denies them. AAH otherwise denies the allegations in this Paragraph.

       163.    After the Advanced Healthcare acquisition, AAH announced plans to build a new

hospital in Grafton, Wisconsin that, among other things, would allegedly house some of the newly

acquired AAH physicians. Executives from a different hospital system claimed that their analysis

of health care data showed that a new hospital was not necessary in the area based on population.

AAH built a new 107-bed facility anyway. In the following years, the next closest non-AAH




                                        69
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 69 of 115 Document 50
hospital immediately lost a significant portion of its patients, forcing layoffs and restructuring.

This reduction in competition is directly linked to AAH’s other anticompetitive conduct: Because

of its all-or-nothing, all-plans, anti-steering, anti-tiering, and gag clause provisions, the competitor

hospital would have been unable to effectively compete for business from commercial health plans

on price and quality. Thus, AAH was able to build a new hospital where adequate demand

allegedly did not exist and gain significant market share by leveraging its broader system power

and imposing anticompetitive provisions on commercial health plans and Network Vendors.

Because of these actions, AAH has gone from being a non-meaningful inpatient provider in

Grafton, Wisconsin to controlling nearly 65% of inpatient admissions in the larger Port

Washington HSA.

ANSWER: AAH admits that it built a new 107-bed facility in Grafton, Wisconsin. AAH lacks

knowledge or information sufficient to form a belief about the truth of the allegation that the

unidentified executives from a different, unidentified hospital system made the statements

attributed to them and, on that basis, denies that allegation. AAH otherwise denies the allegations

in this Paragraph.

        164.    This reflects a broader trend of AAH entering markets that do not have adequate

demand with the goal of suppressing competition. As the senior associate dean for clinical affairs

for the Medical College of Wisconsin stated of AAH’s business practices generally: “They say

they’re bringing in choice . . . . There’s a concern they’re bringing in duplication of services. I

think it’s the latter. They have a track record of that. . . . Is this adding choice or unnecessary

redundancies, which will raise the cost of care?” This type of expansion into areas that do not have

adequate demand can only be successful in the presence of anticompetitive practices imposed on

Network Vendors, TPAs, commercial health plans, and independent providers.




                                         70
         Case 2:22-cv-00610-LA Filed 10/30/23 Page 70 of 115 Document 50
ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegation that the senior associate dean for clinical affairs for the Medical College of Wisconsin

made the statements attributed to him or her and, on that basis, denies that allegation. AAH

otherwise denies the allegations in this Paragraph.

       165.    For example, in 2010, AAH opened the Aurora Summit Medical Center in

Oconomowoc less than four miles from the existing Oconomowoc Memorial Hospital. At the time,

Oconomowoc Memorial Hospital was nowhere near capacity and local reporting indicated there

was not adequate demand for a second hospital nearby. Nevertheless, AAH opened the facility and

tolerated less than 35% inpatient occupancy. Local reporting indicated that the occupancy

percentage would have been even lower had AAH not acquired a number of independent

physicians. On information and belief, AAH imposed the same types of non-competes and referral

restrictions on those doctors as is its normal business practice in order to reduce business to

Oconomowoc Memorial Hospital.

ANSWER:        AAH admits that in 2010, it opened the Aurora Summit Medical Center in

Oconomowoc. To the extent that the allegations in this Paragraph refer to unidentified local

reporting, AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegation that the unidentified reporters made the statements attributed to them and, on that basis,

denies them. AAH otherwise denies the allegations in this Paragraph.

       166.    The outcome is that AAH has secured 37% of the inpatient market share in the

Oconomowoc HSA, up from virtually none ten years ago. That market share has continued to

increase in the last several years from 31% in 2016.

ANSWER: AAH denies the allegations in this Paragraph.




                                        71
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 71 of 115 Document 50
       167.    AAH’s growing market power is also reflected in its ability to control prices:

According to data released in May 2022, AAH’s inpatient prices at Aurora Summit Medical Center

are 446% of Medicare compared to only 297% of Medicare less than four miles away at

Oconomowoc Memorial Hospital. This is despite Oconomowoc Memorial Hospital having higher

quality ratings than Aurora Summit Medical Center from the US Government’s Centers for

Medicare and Medicaid Services.

ANSWER: AAH denies the allegations in this Paragraph.

       168.    Despite having lower prices and higher quality than Aurora Summit Medical

Center, Oconomowoc Memorial Hospital’s inpatient visits have declined almost every year AAH

has operated Aurora Summit Medical Center. Oconomowoc Memorial Hospital’s inpatient visits

have declined from 4,563 in 2009 (the year before AAH opened Aurora Summit Medical Center)

to 3,141 in 2010 and now steadily down to 2,948 in 2021, despite the overall number of inpatient

visits in the Oconomowoc HSA increasing substantially over that time period.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in the second sentence of this Paragraph and, on that basis, denies them. AAH

otherwise denies the allegations in this Paragraph.

       169.    Oconomowoc Memorial Hospital has a very slim profit margin per inpatient visit.

While Aurora Summit Medical Center makes $4,341 average profit per inpatient visit and the

Wisconsin state average is $3,048 profit per inpatient visit, Oconomowoc Memorial Hospital now

makes only $1,168 per inpatient visit. Overall, Oconomowoc’s margin is only 4%, lower than any

other ProHealth or AAH hospital in Wisconsin and lower than AAH’s 23% profit margin at Aurora

Summit Medical Center. These very thin margins—that have fallen into a loss as recently as

2017—create a dangerous probability that Oconomowoc Memorial Hospital will be forced to




                                        72
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 72 of 115 Document 50
reduce or close inpatient services that account for about 40% of the Oconomowoc HSA, with the

resulting benefit to AAH. If Oconomowoc Memorial Hospital closes or downsizes, this will harm

commercial health plans because AAH will be able to raise its prices further while reducing quality.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph and, on that basis, denies them.

       170.    AAH’s attempted monopolization of the Oconomowoc HSA inpatient market has

been facilitated by anticompetitive behavior. For example, as explained in greater detail elsewhere,

the dramatic price difference for inpatient care between AAH’s Aurora Summit Medical Center

and Oconomowoc Memorial Hospital would not be possible absent AAH’s use of all-or-nothing,

all-plans, anti-steering, anti-tiering, and gag clauses. If Network Vendors (like Cigna, Aetna,

Anthem, Trilogy, Quartz, Humana, and others), TPAs, and commercial health plans were free to

direct people towards lower cost care, Oconomowoc Medical Center would see a substantially

higher inpatient market share and inpatient occupancy than Aurora Summit Medical Center. As

described earlier, AAH’s non-competes and referral restrictions limit both staffing availability and

patient flow for competitors like Oconomowoc Medical Center. And, as documented earlier, AAH

has taken action to undermine nearby innovative health plans that would foster price competition,

including its effort to suppress the reference-based pricing plan of plaintiffs Hometown and Uriel.

ANSWER: AAH denies the allegations in this Paragraph.

       171.    On information and belief, AAH has pursued a similar strategy of attempted

monopolization of inpatient care in other HSAs in Wisconsin using the same types of tactics.

ANSWER: AAH denies the allegations in this Paragraph.

       172.    Similarly, AAH acquired a large outpatient practice called Family Health Plan,

which the Milwaukee Business Journal characterized as, “a transaction that would further add to




                                        73
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 73 of 115 Document 50
Aurora’s dominance of the southeastern Wisconsin market.” During the acquisition, AAH insisted

that, as part of the acquisition, it be able to impose a provision that would require the acquired

Family Health Plan providers to “exclusively” refer to AAH facilities. This provision was

projected to be “crippling” for other health care providers in the area. On information and belief,

it was only possible for AAH to insist on the exclusive referral provision because it knew that

Network Vendors and commercial health plans (who would be forced to pay higher costs as their

members are exclusively referred to higher cost AAH facilities) could not challenge the clearly

anti-competitive provision because of AAH’s market power.

ANSWER: AAH admits that it acquired an outpatient practice in 2020 called Family Health Plan.

AAH lacks knowledge or information sufficient to form a belief about the truth of the allegations

in this Paragraph that reference an article from the “Milwaukee Business Journal” relating to a

decades-old transaction and, on that basis, denies them. AAH otherwise denies the allegations in

this Paragraph.

        173.      The acquisition worked as AAH appears to have intended: The hospital that press

reports predicted “stands to lose the most if Aurora buys Family Health Plan’s medical group and

clinics” ended up quickly facing “the biggest decline in net income by percentage of any

Milwaukee-area hospital” after the AAH transaction. And, about six years later, a competitor

hospital was forced to close since it “doesn’t have the ability to fund indefinitely the types of losses

we’ve incurred,” according to the competitor’s CEO. On information and belief, this closure

significantly increased costs for commercial health plans over the following years by eliminating

an AAH facility that was a lower cost option for healthcare.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph, including with respect to statements from “press reports” relating to




                                         74
         Case 2:22-cv-00610-LA Filed 10/30/23 Page 74 of 115 Document 50
a decades-old transaction and the purported statements of the CEO of an AAH competitor and, on

that basis, denies them.

        174.    In late 2010, the Milwaukee Journal Sentinel reported that AAH’s other recent

acquisitions have included “a large radiology practice, and the practices of the heart surgeons and

related specialists who practice at Aurora St. Luke's Medical Center.” On information and belief,

these acquisitions were partly driven by the ability of AAH to impose higher prices for the exact

same imaging services on commercial health plans after the radiology acquisition and to control

referrals to and from these facilities.

ANSWER: To the extent that the allegations in the first sentence of this Paragraph about “recent”

transactions cite to a report from the “Milwaukee Journal Sentinel” relating to transactions that are

more than a decade old, AAH respectfully refers the Court to that report for an accurate and

complete account of its contents. AAH otherwise denies the allegations in this Paragraph.

        175.    In 2013, AAH acquired The Manitowoc Surgery Center which reduced competition

for outpatient services in the region. AAH described the goal of the acquisition as increasing

“outpatient surgery services within Aurora’s integrated health care system.” On information and

belief, the acquisition was partly driven by the ability of AAH to impose higher prices for the exact

same surgery services, by the desire to reduce competition from outpatient surgery centers that

academic literature has indicated provide effective and lower-cost competition to hospitals, and by

the desire to use referral restrictions to direct more patients in the Manitowoc HSA to AAH

inpatient facilities, where AAH now controls over 39% of inpatient admissions.

ANSWER: AAH admits that in 2013 it acquired The Manitowoc Surgery Center. To the extent

that the allegations in this Paragraph refer to statements from an AAH representative, AAH




                                         75
         Case 2:22-cv-00610-LA Filed 10/30/23 Page 75 of 115 Document 50
respectfully refers the Court to those statements for an accurate and complete account of their

contents. AAH otherwise denies the allegations in this Paragraph.

       176.    In 2016, the Wisconsin Heart Hospital in Wauwatosa closed. This closure took

place after independent providers reported they were “punished” by AAH for investing in or being

affiliated with the Wisconsin Heart Hospital, including a well-documented decision by AAH to

remove a respected physician from the role of medical director at AAH’s Aurora West Allis

Hospital because of her affiliation with the Wisconsin Heart Hospital. Physicians and medical

associations also expressed concern that AAH was using coercive referral practices to force

specialist physicians to refer to AAH instead of competitors, including Wisconsin Heart Hospital.

On information and belief, AAH’s actions contributed to the closure of Wisconsin Heart Hospital,

eliminating a potential competitor that could have contained costs, particularly in the Milwaukee

and West Allis HSAs.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph and, on that basis, denies them.

       177.    After the acquisition of a home care company for seniors in 2021, the CEO of

AAH’s internal buyout fund stated that, “This opens a lot of opportunities for us, thinking about

what we can be in the broader healthcare continuum. How do you control the overall continuum?

How do you own it? It’s very hard for one person, one company or one organization to have all of

the parts. Well, I think we’re the first organization in the country that now can say we own the full

healthcare continuum.” (emphasis added)

ANSWER: To the extent that the allegations in this Paragraph refer to statements from an AAH

representative, AAH respectfully refers the Court to those statements for an accurate and complete

account of their contents. AAH otherwise denies the allegations in this Paragraph.




                                        76
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 76 of 115 Document 50
       178.    AAH was created by the merger of Aurora Health Care in Wisconsin and Advocate

Health Care in Illinois. This merger made AAH one of the largest hospital systems in the country.

The transaction both increased AAH’s combined market power in Southeastern Wisconsin and

Northeastern Illinois 9 and increased AAH’s overall leverage over commercial health plans and

Network Vendors, especially those operating in both Illinois and Wisconsin. AAH is thus in an

even stronger position to impose anticompetitive terms on Network Vendors and to extract

supracompetitive prices from commercial health plans.

ANSWER: AAH admits that Aurora Health Care in Wisconsin and Advocate Health Care in

Illinois merged to form AAH. AAH otherwise denies the allegations in this Paragraph and in

Footnote 9.

       179.    Even prior to the merger, AAH was acquiring physician groups in Northern Illinois.

ANSWER: AAH admits that it has acquired physician groups in Illinois.

       180.    The CEO of a Wisconsin company with a self-funded health plan remarked that the

merger would raise prices for Wisconsin self-funded health plans like his, writing:

               For the life of me, I [can’t] see how the proposed mega-merger between
               Aurora Health Care of Wisconsin and Advocate Health Care Network of
               Illinois will benefit payers like my company Serigraph or its co-workers.
               The main rationale for the executives and boards of the two non-profit
               corporations must be that bigger is better in a rapidly changing and
               consolidating industry. They must believe they will have more clout when
               dealing with the major health insurance carriers. But more clout on the
               provider side means higher prices, not lower. Do corporations seek more
               leverage so they can lower prices? Don’t be naïve.




9
 For example, Aurora controlled about 32% of inpatient admissions in the border community of
Winthrop Harbor, Illinois before the merger to about 47% of inpatient admissions after the merger.
Commercial health plans based in Illinois paid AAH for services in Wisconsin before the merger
and paid AAH for services in Wisconsin and Illinois after the merger.


                                        77
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 77 of 115 Document 50
ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph regarding the purported statements of the CEO of a Wisconsin

company and, on that basis, denies them. AAH otherwise denies the allegations in this Paragraph.

       181.    After the merger, inpatient prices increased at AAH facilities in Wisconsin. This is

reflected in the median net profit margin AAH earned from patients increasing over 20% for its

facilities in Wisconsin from 2017 to 2019. This merger and resulting market power growth has

already resulted in higher prices for Wisconsin commercial health plans and will continue to as

AAH’s misuse of its ever-growing market power continues.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph and, on that basis, denies them.

       182.    Similarly, inpatient prices increased at AAH’s facilities in Illinois with the median

net profit margin AAH earned from patients increasing from 7.1% in 2017 (the last full year before

the merger) to 7.8% (the first full year after the merger). As discussed previously, there is

significant evidence that AAH uses its market power to impose supracompetitive prices and

anticompetitive contract terms at newly acquired facilities. A nearly 10% growth in inpatient net

profit margins for AAH Illinois facilities immediately after a merger fits that well-documented

pattern for AAH.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph and, on that basis, denies them.

       183.    And the academic literature supports the fact that prices have increased at AAH’s

newly integrated Illinois and Wisconsin facilities because of market power. As the Kaiser Family

Foundation wrote, “One reason that prices rise when there are hospital mergers across markets is




                                        78
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 78 of 115 Document 50
that they increase hospital bargaining positions with insurers, which seek to have strong provider

networks across multiple areas in order to attract employers with employees in multiple locations.”

ANSWER: To the extent that the allegations in this Paragraph refer to statements from the Kaiser

Family Foundation, AAH respectfully refers the Court to those statements for an accurate and

complete account of their contents. AAH otherwise denies the allegations in this Paragraph.

       184.     AAH has not stopped there. Earlier this month it announced a proposed merger

with Atrium Health of North Carolina. This combination would create a conglomerate that would

do business in seven states. If permitted to go through, this merger would further increase AAH’s

market power, especially for the commercial health plans and Network Vendors who operate in

both the existing AAH and Atrium markets, according to healthcare economists. Separately,

Professor Barak Richman of Duke University said that the proposed merger was “very, very

alarming” and would likely lead to higher prices. “This does not point to a new frontier of

competition. It points to a new scale of lack of competition. A new scale of monopoly power,”

Richman said.

ANSWER: AAH admits that in May 2022, it announced a proposed merger with Atrium Health

of North Carolina with hospitals in seven states. AAH otherwise denies the allegations in this

Paragraph.

VIII. “AAH’S ANTICOMPETITIVE CONDUCT CAUSES ARTIFICIALLY INFLATED
      PRICES AND SUPPRESSES QUALITY”

       A.       AAH’s Prices Drive Costs for Commercial Health Plans

       185.     Prices set by hospital systems like AAH are the primary driver of cost for

commercial health plans. And, as explained previously, AAH’s anticompetitive conduct allows it

to set supracompetitive prices that commercial health plans must pay. Commercial health plans,

including self-funded health plans like Hometown and Uriel, have made billions of dollars in direct



                                        79
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 79 of 115 Document 50
payments to AAH at the supracompetitive price levels AAH’s unlawful conduct has enabled it to

charge.

ANSWER: AAH denies the allegations in this Paragraph.

          186.   A Harvard University analysis concluded that, “Variation in spending in the

commercial insurance market is due mainly to differences in price markups by providers rather

than to differences in the utilization of healthcare services. . . . 70 percent of variation in total

commercial spending is attributable to price markups, most likely reflecting the varying market

power of providers.”

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph, including with respect to the purported “Harvard University analysis”

and, on that basis, denies them.

          187.   In fact, a Milwaukee Journal Sentinel report on AAH’s acquisition and negotiation

strategy noted that, contrary to Aurora’s claims of improved efficiency, studies have found that

consolidation gives hospital systems more leverage in negotiating higher prices.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph, including with respect to the purported “Milwaukee Journal Sentinel”

report, and, on that basis, denies them.

          188.   As explained below, in Milwaukee specifically healthcare prices are inexplicably

high considering the ostensible level of competition in the market. The unjustifiably high prices

paid by Eastern Wisconsin businesses, unions, and local governments are made possible by AAH’s

anticompetitive behavior and are evidence of AAH’s market power and ability to control prices in

both the inpatient and outpatient markets. The prices described below are the prices at the time

Plaintiffs filed their original complaint.




                                           80
           Case 2:22-cv-00610-LA Filed 10/30/23 Page 80 of 115 Document 50
ANSWER: AAH denies the allegations in this Paragraph.

       189.    These data make clear that AAH’s anticompetitive conduct facilitates the

supracompetitive prices it bills to commercial health plans in all the HSAs where AAH operates.

Under federal antitrust precedents, when vertical restraints like those AAH has forced on

commercial health plans and Network Vendors lead to higher prices and lower quality, that is

direct evidence that they are anticompetitive.

ANSWER: AAH denies the allegations in this Paragraph.

       B.      AAH Charges Supracompetitive Prices in Milwaukee

       190.    Milwaukee employers and residents pay extraordinarily high prices for healthcare.

Overall, Milwaukee has the fourth highest prices for healthcare in the entire country with overall

prices 44% above the national median. Indeed, Milwaukee’s healthcare prices are higher than those

in New York City. Overall healthcare spending per person in the Milwaukee metro area is 21%

above the national median, making it the seventh highest metro area in the country for per person

healthcare spending.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph and, on that basis, denies them.

       191.    Moreover, Milwaukee’s already high prices are continuing to rise: From 2015 to

2019, hospital prices rose in Milwaukee at the fifth highest rate of the entire country.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph and, on that basis, denies them.

       192.    These high prices are despite the existence—on paper—of a healthy level of

competition in Milwaukee. This competition should control prices. But the vertical restraints

described above that AAH has used to undermine competition have been key drivers of

Milwaukee’s extraordinarily high healthcare costs.


                                        81
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 81 of 115 Document 50
ANSWER: AAH denies the allegations in this Paragraph.

       193.    AAH is by far the most expensive hospital system in Milwaukee, charging

supracompetitive prices for inpatient and outpatient procedures and significantly driving up the

cost of healthcare for commercial health plans, including the self-funded health plans of Plaintiff

Hometown and Plaintiff Uriel, that have paid AAH’s supracompetitive prices in Milwaukee and

nearby HSAs during the last four years.

ANSWER: AAH denies the allegations in this Paragraph.

       194.    A comparison of inpatient prices shows that AAH’s prices are 65% more expensive

than an average of the other large hospitals in the Milwaukee area. This dramatic price differential

within a market is one of the highest in the country.

ANSWER: AAH denies the allegations in this Paragraph.

       195.    Overall, AAH’s prices at its flagship facility in Milwaukee are 373% of the

Medicare rates, compared to a state average of 307%, according to data published in May 2022.

This is despite the fact that AAH itself makes a profit on Medicare rates as detailed in a

comprehensive independent recent report evaluating hospital profitability.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph and, on that basis, denies them.

       196.    For example, prices for common procedures at Aurora St. Luke’s Medical Center

are dramatically higher than they are at Ascension St. Francis Hospital, a facility only 5 minutes

away with similar quality ratings.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph and, on that basis, denies them.




                                        82
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 82 of 115 Document 50
       197.    Similarly, prices are higher at AAH’s St. Luke’s facility than they are at Froedtert

Hospital, a different competitor less than 20 minutes away that is generally rated as providing

higher quality by patients and safer by independent ratings agencies. US News and World Report

ranks Froedtert Hospital as the number one hospital in Milwaukee, and a higher percentage of

patients would recommend Froedtert Hospital than would recommend AAH’s St. Luke’s

according to Healthgrades.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph and, on that basis, denies them.

       198.    When evaluating prices for specific procedures, academic literature suggests one

useful analysis is comparing “narrowly defined” procedures, i.e., those that have little variation

within the procedure and occur with sufficient frequency to support empirical analysis.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph and, on that basis, denies them.

       199.    One example of a “narrowly defined” procedure that is also a very high revenue

procedure for hospitals is a joint replacement. For a major commercial network, AAH’s price for

a hip or knee replacement in Milwaukee is $62,538, over $21,000 higher than the price for the

same procedure five minutes away at a competitor hospital. Charging customers approximately

50% more than a nearby competitor for a common procedure would not be possible in a

functioning, competitive market. This price differential cannot be explained by AAH’s market

power in Milwaukee, where it only controls about 40% of the market for acute inpatient hospital

services. Thus, this price differential is the result of the anticompetitive contracting restrictions

AAH imposes on commercial health plans and Network Vendors, in Milwaukee, by virtue of its

dominant power both systemwide and over the AAH Monopolized Inpatient Markets.




                                        83
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 83 of 115 Document 50
ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph and, on that basis, denies them.

       200.    For other very common surgeries, including appendectomies and angioplasties,

AAH charges supracompetitive prices. For both procedures, AAH’s price is almost double that of

Ascension, the other main competitor in Milwaukee. For appendectomies, AAH’s price is $46,002

compared to $24,172 at Ascension. For angioplasties, AAH’s price is $79,880 compared to

$43,319 at Ascension.




                                        84
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 84 of 115 Document 50
ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph and, on that basis, denies them.

       201.    For inpatient treatment of other common diseases like sepsis, pneumonia,

esophagitis, and heart failure, AAH is also significantly more expensive than other hospitals in

Milwaukee. AAH is 54-105% more expensive than Ascension for those procedures and 15-53%

more expensive than Froedtert for those procedures.




ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph and, on that basis, denies them.

       202.    Additionally, prices for outpatient procedures are significantly higher at AAH’s

flagship facility in Milwaukee than competitors. This includes substantially higher prices than

independent outpatient providers and extends even to its large hospital peers, where AAH’s prices

for outpatient services average over 22% higher than other large hospitals. These outpatient prices

in Milwaukee relative to other providers can only be explained by AAH’s abuse of its systemwide


                                        85
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 85 of 115 Document 50
market power in its monopoly power in other markets to control outpatient prices in Milwaukee.

Without the vertical restraints that AAH uses to leverage its market power systemwide, AAH

would not be able to maintain these supracompetitive outpatient prices.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in the first and second sentences of this Paragraph and, on that basis, denies them. The

remaining allegations in this Paragraph are legal conclusions for which no response is required.

To the extent a response is required, AAH denies the remaining allegations in this Paragraph.

       203.    For example, AAH’s price for a colonoscopy with biopsy—an extremely common

and uncomplicated procedure—is over $10,700 for a common commercial health plan whereas the

procedure costs only about $4,700 at Froedtert & the Medical College of Wisconsin for the same

plan, a facility that is about 15 minutes away and has generally higher quality and safety ratings.

Prices for a routine procedure that are more than double a nearby competitor cannot be explained

absent AAH’s restraints on competition.




ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in the first sentence of this Paragraph and, on that basis, denies them. AAH denies the

remaining allegations in this Paragraph.



                                        86
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 86 of 115 Document 50
       204.    A CT scan of the head or brain is one of the procedures that drives a large portion

of hospital imaging revenue. It is also a procedure that academic literature considers “plausibly

undifferentiated” because “there is little variation in how these services are delivered across

hospitals or across patients within a hospital.” Thus, academic literature considers “plausibly

undifferentiated” procedures like CT scans a useful way to compare hospital prices, because any

price differential is likely explained by market power and/or anticompetitive restraints rather than

quality. While there is no differentiation as to the quality of a CT scan performed at AAH versus

a competitor, AAH does find a way to differentiate as to price: Its price is over $300 more than

nearby Froedtert & the Medical College of Wisconsin.




ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph and, on that basis, denies them.

       205.    Another important way to compare prices is by looking at low-cost but extremely

high-volume procedures like routine blood tests. On this count, AAH’s prices are egregious, with

a commercial health plan paying more than double the price at AAH compared to the nearby

Froedtert & the Medical College of Wisconsin. Because these tests are conducted hundreds of




                                        87
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 87 of 115 Document 50
times a day at AAH, the impact of such dramatically supracompetitive prices on commercial health

plans is substantial.




ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in the first and second sentences of this Paragraph and, on that basis, denies them.

AAH denies the remaining allegations in this Paragraph.

        206.    Since 2015, healthcare prices in Milwaukee have risen at the fifth highest rate in

the entire country. AAH’s high and rising prices driven by anticompetitive behavior are a major

contributor to this increasing financial burden on Milwaukee employers and families.

ANSWER: AAH denies the allegations in this Paragraph.

        C.      “AAH Charges Supracompetitive Prices in Green Bay”

        207.    AAH also charges supracompetitive prices for inpatient and outpatient procedures

in Green Bay, including prices paid by Plaintiff Hometown within the last four years, despite

facing some ostensible competition from three other non-AAH hospitals. As a result, Green Bay

is one of the top five metro areas in the entire country for the price of medical professional services

relative to Medicare.

ANSWER: AAH denies the allegations in this Paragraph.




                                         88
         Case 2:22-cv-00610-LA Filed 10/30/23 Page 88 of 115 Document 50
        208.   As to inpatient care, AAH’s Aurora Baycare Medical Center has dramatically

higher prices than nearby facilities according to data published in May 2022. Its average inpatient

prices are almost 328% of the Medicare rates while the other three hospitals in Green Bay are only

223%, 256%, and 299%.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph, including with respect to the purported “data published in May

2022,” and, on that basis, denies them.

        209.   As to outpatient care, AAH’s average prices across all outpatient procedures are

even more inflated, registering at 350% of Medicare. All three other hospitals have lower prices

than AAH, with an average markup over Medicare of 311%. These outpatient prices relative to

other providers can only be explained by AAH’s abuse of its market power in other parts of

Wisconsin to control prices in Green Bay and by AAH’s contracting practices.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph, including with respect to the Plaintiffs’ unspecified data, and, on that

basis, denies them. AAH otherwise denies the allegations in this Paragraph.

        210.   These high prices are despite AAH’s Baycare Medical Center having lower quality

ratings from the federal government’s Centers for Medicare & Medicaid Services and lower safety

ratings from the independent ratings agency Leapfrog than the next two nearest competitor

hospitals.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph, including with respect to the purported ratings from the Centers for

Medicare & Medicaid Services and Leapfrog, and, on that basis, denies them.




                                         89
         Case 2:22-cv-00610-LA Filed 10/30/23 Page 89 of 115 Document 50
       D.      “AAH Charges Supracompetitive Prices Throughout Wisconsin”

       211.    AAH’s supracompetitive prices facilitated by anticompetitive conduct extend to

every area where AAH operates. Plaintiffs Hometown and Uriel have paid AAH’s

supracompetitive prices at locations throughout Wisconsin over the last four years.

ANSWER: AAH denies the allegations in this Paragraph.

       212.    For example, in Oshkosh AAH’s price for an angioplasty is about double that of

the two nearest hospitals, one of which is less than 2 miles away. Similarly, AAH’s price for joint

replacement is 60% higher than the two nearest inpatient competitors. Plaintiff Hometown has

paid AAH’s supracompetitive prices in Oshkosh and nearby areas over the past four years.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph and, on that basis, denies them.

       213.    In Kenosha, AAH’s price for a joint replacement is over $15,000 higher than a

Froedtert facility that is less than 7 miles away. Similarly, the price for an angioplasty is nearly

$7,000 higher. Overall, the weighted average price (which accounts for differences in acuity) for

an inpatient service is $42,167 for AAH’s Kenosha facility versus $32,099 at the nearby Froedtert

facility. Like other self-funded plans based in Wisconsin or Illinois, Plaintiff Hometown and

Plaintiff Uriel have paid AAH’s supracompetitive prices in Kenosha and nearby areas over the

past four years.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph and, on that basis, denies them.

       214.    In Sheboygan, AAH’s prices for outpatient procedures are extremely inflated:

AAH’s prices are 358% of Medicare compared to the nearest competitor with prices of 308% of

Medicare. Plaintiff Hometown has paid AAH’s supracompetitive prices in Sheboygan and nearby

areas over the past four years.


                                        90
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 90 of 115 Document 50
ANSWER: AAH denies the allegation that its prices for outpatient procedures are extremely

inflated. AAH lacks knowledge or information sufficient to form a belief about the truth of the

remaining allegations in this Paragraph and, on that basis, denies them.

       215.    In Oconomowoc where AAH opened Aurora Summit Medical Center four miles

away from the existing Oconomowoc Memorial Hospital, AAH’s prices for inpatient services

average 446% of Medicare compared to only 297% of Medicare at Oconomowoc Memorial

Hospital. Overall, the weighted average price (which accounts for differences in acuity) for an

inpatient service is $44,411 for AAH’s Oconomowoc facility versus $23,104 at the nearby

Oconomowoc Memorial Hospital, a remarkable 92% higher.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph and, on that basis, denies them.

       216.    In Marinette, AAH’s inpatient and outpatient prices are substantially above the state

average and substantially higher than the next nearest non-AAH hospital. Plaintiff Hometown has

paid AAH’s supracompetitive prices in Marinette and nearby areas over the past four years.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph and, on that basis, denies them.

       217.    As reflected in specific procedures outlined above and in an analysis of aggregate

data, AAH’s prices for outpatient procedures overall are substantially more expensive than the

Wisconsin and national averages. Plaintiff Hometown has paid AAH’s supracompetitive prices for

outpatient procedures hundreds of times at facilities across Wisconsin in the current calendar year

alone. Similarly, Plaintiff Uriel has paid AAH’s supracompetitive prices for outpatient procedures

at numerous facilities across Wisconsin in the current calendar year alone.




                                        91
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 91 of 115 Document 50
ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph and, on that basis, denies them.

       218.    A major Wisconsin insurer and Network Vendor stated in 2006 that “Aurora is a

high-price healthcare provider relative to other providers.” Since then, AAH’s prices have

increased substantially, both as an absolute matter and as compared to its competitors.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegation that the unidentified insurer and network vendor made the statements attributed to them

and, on that basis, denies that allegation. AAH otherwise denies the allegations in this Paragraph.

       E.      “AAH Raised Prices In Illinois Substantially After Merger”

       219.    After the merger of Advocate and Aurora to form AAH, the combined system

substantially raised prices in Illinois. This occurred both in the areas previously serviced primarily

by Advocate as well as in the areas near the Wisconsin border where Aurora had previously

operated.

ANSWER: AAH denies the allegations in this Paragraph.

       220.    Two sets of data from the highly-respected, independent RAND Corporation

indicate the substantial price increases AAH imposed as a result of the merger: During the period

of 2016-2018 (almost entirely before the merger was finalized in April 2018), what were then the

Advocate hospitals in Illinois had average commercial prices (both inpatient and outpatient) of

231% of Medicare. During the period of 2018-2020 (primarily after the merger), the same hospitals

in Illinois, now owned by AAH, had average commercial prices of 253% of Medicare. This

substantial increase in prices was on an absolute level, relative to competitors, and compared to

the well-accepted baseline of Medicare.




                                         92
         Case 2:22-cv-00610-LA Filed 10/30/23 Page 92 of 115 Document 50
ANSWER: AAH denies the validity of the methodology, characterizations, and conclusions of

the “RAND Corporation” study referenced in this Paragraph and otherwise denies this paragraph’s

allegations.

       221.    The combined power of the two systems gave the merged entity even more ability

to continue Aurora’s longstanding practice of imposing the anticompetitive contracting restraints

and referral restrictions described above that increase prices for commercial health plans in Illinois,

Michigan, and Wisconsin.

ANSWER: AAH denies the allegations in this Paragraph.

IX.    ADDITIONAL FACTS REGARDING NAMED PLAINTIFFS

       222.    Hometown Pharmacy is a business with locations across Wisconsin with a self-

funded health plan, the Hometown Pharmacy Health and Welfare Benefits Plan. Hometown

provides pharmacy services in seventy locations throughout Wisconsin and the Upper Peninsula

of Michigan. The Hometown Pharmacy Health and Welfare Benefits Plan provides benefits to

about 300 individuals throughout Wisconsin.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this Paragraph and, on that basis, denies them.

       223.    Hometown has operated a self-funded health plan from 2020 to present. During that

period, it made payments to AAH for medical services for plan members at AAH facilities

throughout Wisconsin. These payments were made at the supracompetitive prices that AAH forces

Network Vendors to accept by virtue of the vertical restraints described above.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in the first and second sentences of this Paragraph and, on that basis, denies them.

AAH otherwise denies the allegations in this Paragraph.




                                         93
         Case 2:22-cv-00610-LA Filed 10/30/23 Page 93 of 115 Document 50
       224.   In 2020, Hometown’s self-funded plan used Medben as a TPA. Hometown paid

providers, including AAH through reference-based pricing. As described previously, AAH took

actions to punish and suppress Hometown’s reference-based pricing plan in a way that is typical

of how AAH has behaved towards others attempting to operate commercial health plans using

reference-based pricing.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in the first and second sentences of this Paragraph and, on that basis, denies them.

AAH otherwise denies the allegations in this Paragraph.

       225.   Partially because of AAH’s actions to suppress reference-based pricing, in 2021

Hometown made changes to its self-funded health plan. It began using Trilogy as a Network

Vendor and Aither Health as a TPA. Trilogy is a Network Vendor that has entered agreements

with AAH typical of those described previously between Network Vendors and AAH. Hometown

does not have the ability to negotiate directly with AAH—instead, it has paid for services its

members received at AAH facilities at the rates negotiated between Trilogy and AAH.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations that Hometown made changes to its self-funded health plan in 2021, began using

Trilogy as a Network Vendor and Aither Health as a TPA, and paid for services its members

received at AAH facilities at the rates negotiated between Trilogy and AAH and, on that basis,

denies them. AAH otherwise denies the allegations in this Paragraph.

       226.   Since switching to Trilogy, Hometown has made direct payments to AAH for the

healthcare services its employees and their dependents have received from AAH. All or nearly all

of these payments were at supracompetitive rates that AAH was only able to charge by virtue of

the unlawful vertical restraints it has imposed on Network Vendors, including Trilogy.




                                        94
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 94 of 115 Document 50
ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in the first sentence of this Paragraph and, on that basis, denies them. AAH otherwise

denies the allegations in this Paragraph.

       227.    Uriel Pharmacy is a business located in East Troy, Wisconsin with a self-funded

health plan, the Uriel Pharmacy Health and Welfare Plan. Like other businesses in Eastern

Wisconsin, it has struggled with the rising cost of health care and the rising prices charged by

AAH.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in the first sentence of this Paragraph and, on that basis, denies them. AAH denies the

remaining allegations in this Paragraph.

       228.    Uriel has operated a self-funded health plan from 2000 to present. During that

period, it made payments to AAH for medical services for plan members at AAH facilities. These

payments were made at the supracompetitive prices that AAH forces Network Vendors to accept

by virtue of the vertical restraints described above.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in the first and second sentences of this Paragraph and, on that basis, denies them.

AAH denies the remaining allegations in this Paragraph.

       229.    In 2020 and 2021, Uriel’s self-funded health plan used National General (which

was purchased by Allstate) as a TPA. Uriel paid providers, including AAH, through reference

based pricing. As described previously, AAH took actions to punish and suppress Uriel’s reference

based pricing actions in a way that is typical of how AAH has behaved towards others attempting

to operate commercial health plans using reference based pricing.




                                         95
         Case 2:22-cv-00610-LA Filed 10/30/23 Page 95 of 115 Document 50
ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations in the first and second sentences of this Paragraph and, on that basis, denies them.

AAH denies the remaining allegations in this Paragraph.

       230.    Partially because of AAH’s actions to suppress reference-based pricing, in 2021

Uriel made changes to its self-funded health plan. It began using Cigna as a Network Vendor and

Allstate remained the TPA. Cigna is a Network Vendor that has entered agreements with AAH

typical of those described previously between Network Vendors and AAH. Uriel does not have

the ability to negotiate directly with AAH—instead, it has paid for services its members received

at AAH facilities at the rates negotiated between Cigna and AAH.

ANSWER: AAH lacks knowledge or information sufficient to form a belief about the truth of the

allegations that Uriel made changes to its self-funded health plan in 2021, began using Cigna as a

Network Vendor, and paid for services its members received at AAH facilities at the rates

negotiated between Cigna and AAH, and, on that basis, denies them. AAH otherwise denies the

allegations in this Paragraph.

X.     “CLASS ALLEGATIONS”

       A.      “Class Definition”

       231.    Plaintiffs define the class in this litigation as follows:

         All commercial health plans that purchased acute inpatient hospital services
         and/or outpatient medical services directly from AAH at any time during the
         period from May 24, 2018, up to the present (the “Class Period”).

         Excluded from the Class are AAH, and their officers, directors, management,
         employees, subsidiaries, or affiliates, judicial officers and their personnel, and
         all federal governmental entities.

ANSWER: AAH admits that Plaintiffs purport to seek relief on behalf of the class described in

this Paragraph but denies that Plaintiffs have established or can establish the prerequisites to




                                        96
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 96 of 115 Document 50
certification and/or maintenance of the alleged class pursuant to Rule 23 of the Federal Rules of

Civil Procedure, and otherwise denies the allegations in this Paragraph.

       232.      The Class is ascertainable because it is defined to include only entities within the

Relevant Geographic Markets that caused at least one individual claim for acute inpatient hospital

services or outpatient medical services to be paid to AAH during the Class Period.

ANSWER: AAH admits that Plaintiffs purport to seek relief on behalf of the class described in

the Amended Complaint but denies that Plaintiffs have established or can establish the

prerequisites to certification and/or maintenance of the alleged class pursuant to Rule 23 of the

Federal Rules of Civil Procedure, and otherwise denies the allegations in this Paragraph.

       B.        “Certification Requirements”

       233.      Plaintiffs do not yet know the exact size of the Class; however, based upon the

nature of the industry involved, Plaintiffs expect that there are several hundred Class members.

Therefore, Class members are so numerous and geographically dispersed that joinder is ultimately

impracticable.

ANSWER: AAH denies that Plaintiffs have established or can establish the prerequisites to

certification and/or maintenance of the alleged class pursuant to Rule 23 of the Federal Rules of

Civil Procedure, and otherwise denies the allegations in this Paragraph.

       234.      Because AAH has acted in a generally consistent manner applicable to the Class

writ large, questions of law and fact common to the Class exist as to all members of the Class and

predominate over any questions affecting only individual members of the Class. The common

questions include, but are not limited to:

         a.       Whether Defendant has a monopoly in the AAH Monopolized Inpatient Markets;

         b.       Whether Defendant has acted willfully or otherwise unlawfully in attempting

         to acquire, maintain, or abuse its monopoly;


                                        97
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 97 of 115 Document 50
         c.     Whether AAH implemented contract provisions that unreasonably restrain trade

         by imposing All-or-Nothing, All-Plans, Anti-Steering, Anti-Tiering, Non-Competes,

         Gag Clauses, and/or other conduct that foreclosed competition in the Relevant

         Geographic Markets for Acute Inpatient Hospital Services and Outpatient Medical

         Services;

         d.     Whether    AAH’s     vertical   restraints   enable   it   to   charge   unlawful

         supracompetitive prices;

         e.     Whether AAH’s ongoing conduct continues to restrain trade and reinforce its

         market power;

         f.     Whether AAH’s anticompetitive conduct results in the foreclosure and/or

         substantial lessening of competition; and

         g.     Whether AAH’s conduct violates 15 U.S.C. §§ 1-2 (“the Sherman Act”).

ANSWER: AAH denies that Plaintiffs have established or can establish the prerequisites to

certification and/or maintenance of the alleged class pursuant to Rule 23 of the Federal Rules of

Civil Procedure, and otherwise denies the allegations in this Paragraph.

       235.    Plaintiffs’ claims are typical of the claims of the other Class members. Plaintiffs

and the other Class members have been injured by the same wrongful practices. Plaintiffs’ claims

arise from the same practices and course of conduct that give rise to the other Class members’

claims and are based on the same legal theories.

ANSWER: AAH denies that Plaintiffs have established or can establish the prerequisites to

certification and/or maintenance of the alleged class pursuant to Rule 23 of the Federal Rules of

Civil Procedure, and otherwise denies the allegations in this Paragraph.




                                        98
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 98 of 115 Document 50
       236.    Plaintiffs will adequately represent the interest of all Class members. Plaintiffs have

retained class counsel who are experienced and qualified in prosecuting such class action cases.

Neither Plaintiffs nor class counsel have any interests in conflict with those of the Class members.

ANSWER: AAH denies that Plaintiffs have established or can establish the prerequisites to

certification and/or maintenance of the alleged class pursuant to Rule 23 of the Federal Rules of

Civil Procedure, and otherwise denies the allegations in this Paragraph.

       237.    This class action is appropriate for certification because questions of law and fact

common to the members of the Class predominate over questions affect only individual members,

and a class action is superior to other available methods for the fair and efficient adjudication of

the controversy. Individual joinder of all members of the Class is impracticable and class treatment

will permit a large number of similarly situated commercial health plans to prosecute their claims

in a single forum simultaneously, efficiently, and without the unnecessary duplication of evidence,

effort, and expense that numerous individual actions would produce. Furthermore, the prosecution

of the claims of the Class in part for injunctive relief is appropriate because AAH has acted, or

refused to act, on grounds that apply generally to the Class, such that final injunctive relief or

corresponding declaratory relief is appropriate respecting the Class as a whole.

ANSWER: AAH denies that Plaintiffs have established or can establish the prerequisites to

certification and/or maintenance of the alleged class pursuant to Rule 23 of the Federal Rules of

Civil Procedure, and otherwise denies the allegations in this Paragraph.

XI.    “CLAIMS FOR RELIEF”

                               COUNT ONE
           RESTRAINT OF TRADE IN VIOLATION OF THE SHERMAN ACT
                               (15 U.S.C. § 1)

       238.    The above-alleged paragraphs are incorporated by reference.

ANSWER: AAH incorporates by reference its answers to the above Paragraphs.


                                        99
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 99 of 115 Document 50
       239.    Defendant AAH entered into and continues to enter into anticompetitive contracts

with Network Vendors and is engaging in unreasonable restraints of trade in violation of Section

1 of the Sherman Act, 15 U.S.C. § 1.

ANSWER: AAH denies the allegations in this Paragraph.

       240.    AAH hospitals located in the AAH-dominated markets have overwhelming market

power in each of their AAH Monopolized Inpatient Markets. Moreover, AAH writ large has

systemwide power that gives it market power over its entire service area. That market power has

enabled AAH to impose anticompetitive vertical restraints such as All-or-Nothing, All-Plans, Anti-

Steering, Anti-Tiering, Non-Competes, Gag Clauses, and other exclusionary restraints in written

agreements and/or in contract negotiations with Network Vendors.

ANSWER: AAH denies the allegations in this Paragraph.

       241.    AAH has imposed these vertical restraints in its negotiations with all or nearly all

commercial health plans and Network Vendors it negotiates with in Wisconsin that use networks

that contain AAH facilities.

ANSWER: AAH denies the allegations in this Paragraph.

       242.    By compelling commercial health plans and Network Vendors to agree to these

anticompetitive terms, AAH unlawfully restrains trade and the limits the ability of competitors to

compete in the Relevant Geographic Markets for Acute Inpatient Hospital Services and Outpatient

Medical Services. The anticompetitive effects of AAH’s conduct far outweigh any purported non-

pretextual, pro-competitive justifications.

ANSWER: AAH denies the allegations in this Paragraph.

       243.    These vertical restraints, together and individually, have foreclosed a substantial

amount of competition. Because AAH imposes them on all or nearly all commercial health plans




                                        100
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 100 of 115 Document 50
and Network Vendors, these anticompetitive contracting terms have affected competition as a

whole in the relevant markets.

ANSWER: AAH denies the allegations in this Paragraph.

       244.    As a proximate result of AAH’s unlawful conduct, Plaintiffs and members of the

Class have paid supracompetitive prices directly to AAH, prices that are higher than they would

have been absent AAH’s anticompetitive conduct.

ANSWER: AAH denies the allegations in this Paragraph.

       245.    Thus, Plaintiffs and members of the Class have been injured in their business or

property during the last four years in violation of the Sherman Act, having been subjected to and

paying supracompetitive pricing to AAH for acute general care hospital services and ancillary

products during the Class Period. Such overcharges are the type of injury that the antitrust laws

were explicitly designed to prevent, and they are a direct result of Defendant AAH’s unlawful

conduct. Under 15 U.S.C. § 1 and 15 U.S.C. § 15, Plaintiffs and the members of the Class have

standing to and do hereby seek monetary relief—including treble damages—together with

injunctive, declaratory, and other equitable relief, as well as attorneys’ fees and costs.

ANSWER: AAH denies the allegations in this Paragraph.

                                COUNT TWO
              MONOPOLIZATION IN VIOLATION OF THE SHERMAN ACT
                                (15 U.S.C. § 2)

       246.    The above-alleged paragraphs are incorporated by reference.

ANSWER: AAH incorporates by reference its answers to the above Paragraphs.

       247.    Section 2 of the Sherman Act makes it unlawful for any person to “monopolize, or

attempt to monopolize, or combine or conspire with any other person or persons, to monopolize

any part of the trade or commerce among the several States.” It is also unlawful to willfully

maintain or abuse monopoly power.


                                        101
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 101 of 115 Document 50
ANSWER: AAH denies the allegations in this Paragraph.

        248.   AAH has monopolized, and continues to monopolize, the AAH Monopolized

Inpatient Markets alleged herein in violation of 15 U.S.C. § 2. During the pertinent times, AAH

engaged in the willful and unlawful attempt to maintain and abuse its monopoly power. It did so

by using its market power in those geographies to impose on commercial health plans, Network

Vendors, and TPAs anticompetitive vertical restraints, including All-or-Nothing, All-Plans, Anti-

Steering, Anti-Tiering, Non-Competes, Referral Restrictions, Gag Clauses, and other exclusionary

restraints.

ANSWER: AAH denies the allegations in this Paragraph.

        249.   These vertical restraints have had the direct effect of inhibiting competition from

existing and/or would-be competitors that would compete with AAH on price and quality.

ANSWER: AAH denies the allegations in this Paragraph.

        250.   These restraints have also allowed AAH to leverage its monopoly power over the

AAH Monopolized Inpatient Markets to extract supracompetitive prices in the other geographies

in which it operates.

ANSWER: AAH denies the allegations in this Paragraph.

        251.   Plaintiffs and members of the Class have been harmed by AAH’s abuse, willful

maintenance, and leveraging of its monopoly power. They have paid higher prices at AAH

facilities in the Relevant Geographic Markets than they would have absent AAH’s unlawful

monopolization, both directly due to the vertical restraints themselves and due to the substantial

lessening of competition the restraints have facilitated.

ANSWER: AAH denies the allegations in this Paragraph.




                                         102
         Case 2:22-cv-00610-LA Filed 10/30/23 Page 102 of 115 Document 50
       252.    Thus, Plaintiffs and members of the Class have been injured in their business or

property during the last four years in violation of the Sherman Act, having been subjected to and

paying supracompetitive pricing to AAH for acute general care hospital services and ancillary

products during the Class Period. Such overcharges are the type of injury that the antitrust laws

were explicitly designed to prevent, and they are a direct result of Defendant’s unlawful conduct.

Under 15 U.S.C. § 2, and 15 U.S.C. § 15 Plaintiffs and the members of the Class have standing to

and do hereby seek monetary relief—including treble damages—together with injunctive,

declaratory and other equitable relief, as well as attorneys’ fees and costs.

ANSWER: AAH denies the allegations in this Paragraph.

                         COUNT THREE
    ATTEMPTED MONOPOLIZATION IN VIOLATION OF THE SHERMAN ACT
                          (15 U.S.C. § 2)

       253.    The above-alleged paragraphs are incorporated by reference.

ANSWER: AAH incorporates by reference its answers to the above Paragraphs.

       254.    Section 2 of the Sherman Act makes it unlawful for any person to “monopolize, or

attempt to monopolize, or combine or conspire with any other person or persons, to monopolize

any part of the trade or commerce among the several States.”

ANSWER: AAH denies the allegations in this Paragraph.

       255.    During the pertinent times, AAH engaged in the willful and unlawful attempt to

maintain or expand its monopoly power. Specifically, AAH attempted to monopolize the market

for acute inpatient hospital care in the Oconomowoc HSA.

ANSWER: AAH denies the allegations in this Paragraph.

       256.    During the pertinent times, AAH attempted to acquire or expand its monopoly

through illegitimate means, including but not limited to through tying and unlawful restraints such




                                        103
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 103 of 115 Document 50
as All-or-Nothing, All-Plans, Anti-Steering, Anti-Tiering, Non-Competes, Referral Restrictions,

Gag Clauses, and other exclusionary restraints.

ANSWER: AAH denies the allegations in this Paragraph.

       257.    One motivation AAH had in imposing these restraints was its intent to monopolize

the market for acute inpatient hospital care in the Oconomowoc HSA.

ANSWER: AAH denies the allegations in this Paragraph.

       258.    There is a dangerous probability that AAH will be successful in its attempt to

monopolize that market.

ANSWER: AAH denies the allegations in this Paragraph.

       259.    Plaintiffs and members of the Class have been injured during the last four years by

AAH’s use of these vertical restraints, and would be further injured if AAH is successful in

monopolizing the Oconomowoc HSA.

ANSWER: AAH denies the allegations in this Paragraph.

       260.    Under 15 U.S.C. § 2 and 15 U.S.C. § 15, Plaintiffs and the members of the Class

have standing to and do hereby seek monetary relief—including treble damages—together with

injunctive, declaratory, and other equitable relief, as well as attorneys’ fees and costs.

ANSWER: AAH denies the allegations in this Paragraph.

                                  COUNT FOUR
                  INJUNCTIVE, EQUITABLE, DECLARATORY RELIEF

       261.    The above-alleged paragraphs are incorporated by reference.

ANSWER: AAH incorporates by reference its answers to the above Paragraphs.

       262.    The Court has authority to award injunctive relief pursuant to 15 U.S.C. § 26 and

the Court’s inherent authority.

ANSWER: AAH denies the allegations in this Paragraph.



                                        104
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 104 of 115 Document 50
       263.    The Court has authority to award declaratory relief under 28 U.S.C. § 2201.

ANSWER: AAH denies the allegations in this Paragraph.

       264.    Plaintiffs plead that to the extent the facts and law allow for the imposition of

equitable, declaratory, or injunctive remedies, they plead recourse to any and all such remedies.

ANSWER: AAH denies the allegations in this Paragraph.

       265.    Plaintiffs request the Court order the reformation of AAH’s practices, and/or

contractual and agreement terms, including, for example express language against use of the use

of All-or-Nothing, All-Plans, Anti-Steering, Anti-Tiering, Non-Competes, Gag Clauses, and other

exclusionary restraints.

ANSWER: AAH denies the allegations in this Paragraph.

       266.    Plaintiffs and the Class members have standing to and do seek equitable relief

against AAH, including an injunction to prohibit AAH’s illegal conduct as well as an order of

equitable restitution and disgorgement of the monetary gains AAH obtained from its unfair

competition.

ANSWER: AAH denies the allegations in this Paragraph.

XII.   “JURY DEMAND”

       267.    Plaintiffs demand a trial by jury.

ANSWER: AAH admits that Plaintiffs demand a trial by jury.

XIII. “PRAYER FOR RELIEF”

       WHEREFORE, Plaintiffs pray that this Court enter judgment on their behalf, and on behalf

of those similarly situated, and adjudge and decree as follows:




                                        105
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 105 of 115 Document 50
       A.     Certify the proposed Class, designate the named Plaintiffs as class representatives
              and the undersigned counsel as class counsel, and allow Plaintiffs and the Class to
              have trial by jury;

       B.     Find that AAH has unreasonably restrained trade in violation of 15 U.S.C. § 1 and
              Wis. Stat. § 133.03(1) and that Plaintiffs and the Class members have been
              damaged and injured in their business and property as a result of these violations;

       C.     Find that AAH has monopolized, and continues to monopolize, the relevant markets
              alleged herein in violation of 15 U.S.C. § 2 and that Plaintiffs and the Class
              members have been damaged and injured in their business and property as a result
              of these violations;

       D.     Find that AAH engaged in a trust, contract, combination, or conspiracy in violation
              of 15 U.S.C. § 1 and that Plaintiffs and the Class members have been damaged and
              injured in their business and property as a result of this violation;

       E.     Order under 15 U.S.C. § 15 that Plaintiffs and members of the class recover treble
              threefold the damages determined to have been sustained by them as a result of the
              AAH for the amount so determined;

       F.     Enter judgment against AAH and in favor of Plaintiffs and the Class awarding
              restitution and disgorgement of ill-gotten gains to the extent such an equitable
              remedy be allowed by law;

       G.     Award reasonable attorneys’ fees, costs, expenses, prejudgment and post-judgment
              interest, to the extent allowable by law;

       H.     Award equitable, injunctive, and declaratory relief, including but not limited to
              declaring AAH’s misconduct unlawful and enjoining it, its officers, directors,
              agents, employees, and successors, and all other persons acting or claiming to act
              on its behalf, directly or indirectly, from seeking, agreeing to, or enforcing any
              provision in any agreement that prohibits or restricts competition in the manner as
              alleged herein above; and

       I.     Award such other and further relief as the Court may deem just and proper.


ANSWER: AAH denies that Plaintiffs are entitled to any relief, legal or equitable, from AAH,

as requested in the Amended Complaint or otherwise.




                                       106
       Case 2:22-cv-00610-LA Filed 10/30/23 Page 106 of 115 Document 50
                                  AFFIRMATIVE DEFENSES

       Without assuming any burden of proof that it would not otherwise bear, AAH asserts the

following separate and additional defenses, all of which are pleaded in the alternative, and none of

which constitute an admission that AAH is in any way liable to Plaintiffs, that Plaintiffs have been

or will be injured or damaged in any way, or that Plaintiffs are entitled to any relief whatsoever.

AAH reserves the right to amend or supplement its affirmative defenses and raise counterclaims

as additional facts concerning its defenses become known to it. As a defense to the Amended

Complaint and each and every allegation contained therein, AAH alleges:

                                    First Affirmative Defense

       All or some of Plaintiffs’ claims on behalf of themselves and the purported class are barred

because they lack Article III standing to assert their claims against AAH to the extent they have

not sustained an injury in fact that is fairly traceable to any act or omission of AAH, and to the

extent their alleged injury is not redressable by a remedy the Court may provide.

                                   Second Affirmative Defense

       All or some of Plaintiffs’ claims on behalf of themselves and the purported class are barred

because they lack antitrust standing to assert their claims against AAH to the extent they are not

efficient enforcers of the Sherman Act.

                                   Third Affirmative Defense

       Plaintiffs fail to state a claim upon which relief can be granted. Included in, but not limiting

such challenge, AAH reasserts all grounds set forth in its previously filed motion to dismiss the

First Amended Class Action Complaint as if fully reasserted here.

                                   Fourth Affirmative Defense

       Plaintiffs’ claims are barred, in whole or in part, because they have not sustained any




                                        107
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 107 of 115 Document 50
cognizable injury or antitrust injury.

                                    Fifth Affirmative Defense

       Plaintiffs’ claims are barred, in whole or in part, to the extent their alleged injury or

damages resulted from other causes that were not the result of any act or omission attributable to

AAH, or were not the result of any act or omission attributable to AAH that reduced competition.

                                    Sixth Affirmative Defense

       Plaintiffs’ claims are barred, in whole or in part, because any conduct by or on behalf of

AAH alleged in the Amended Complaint was taken independently in good faith and was legally

or equitably protected by applicable privileges.

                                   Seventh Affirmative Defense

       Plaintiffs’ claims are barred, in whole or in part, because the alleged conduct that is the

subject of the Amended Complaint did not lessen competition in any relevant market or markets.

                                   Eighth Affirmative Defense

       Plaintiffs’ claims are barred, in whole or in part, to the extent the actions or practices of

AAH were undertaken for legitimate business reasons, were otherwise economically justified,

and/or resulted from a good-faith effort to meet competition or market conditions.

                                    Ninth Affirmative Defense

       Insofar as Plaintiffs allege that AAH’s conduct constituted per se violations of the antitrust

laws, such claims are barred, in whole or in part, because Plaintiffs do not adequately define two

separate products that were “tied” together.

                                    Tenth Affirmative Defense

       Insofar as Plaintiffs allege that AAH’s conduct constituted per se violations of the antitrust

laws, such claims are barred, in whole or in part, because AAH did not coerce or force Network




                                        108
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 108 of 115 Document 50
Vendors to purchase more than one product or service.

                                 Eleventh Affirmative Defense

       Insofar as Plaintiffs allege that AAH’s conduct constituted per se violations of the antitrust

laws, such claims are barred, in whole or in part, because AAH does not have market or monopoly

power over any properly defined “tying” product.

                                  Twelfth Affirmative Defense

       Insofar as Plaintiffs allege that AAH’s conduct constituted per se violations of the antitrust

laws, such claims are barred, in whole or in part, because AAH’s conduct did not cause foreclosure

of any volume of commerce in any relevant “tied” product market.

                                Thirteenth Affirmative Defense

       Insofar as Plaintiffs allege that AAH’s conduct constituted Rule of Reason violations of

the antitrust laws, such claims are barred, in whole or in part, because AAH’s conduct did not

cause substantial foreclosure in any relevant “tied” product market.

                                Fourteenth Affirmative Defense

       Insofar as Plaintiffs allege that AAH’s conduct violated the antitrust laws under the rule of

reason, such claims are barred, among other reasons, because the Amended Complaint does not

allege a properly defined relevant market, because any restraints complained of are ancillary to

legitimate, procompetitive activities, and because the Amended Complaint does not allege how

procompetitive effects of AAH’s legitimate activities are outweighed by anticompetitive effects.

                                 Fifteenth Affirmative Defense

       Plaintiffs’ claims are barred, in whole or in part, because AAH does not have market power

or monopoly power in any properly defined relevant market.




                                        109
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 109 of 115 Document 50
                                  Sixteenth Affirmative Defense

        Plaintiffs’ claims are barred, in whole or in part, because AAH does not have a dangerous

probability of achieving market power or monopoly power in any properly defined relevant

market.

                                 Seventeenth Affirmative Defense

        Plaintiffs’ claims are barred, in whole or in part, because AAH lacks market power in any

properly defined relevant market because of the lack of significant barriers to entry.

                                 Eighteenth Affirmative Defense

        Plaintiffs’ claims for monopolization and attempted monopolization are barred, in whole

or in part, to the extent they are contradictory.

                                  Nineteenth Affirmative Defense

        Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs have failed to allege

any exclusionary or anticompetitive conduct.

                                  Twentieth Affirmative Defense

        Plaintiffs’ claims are barred, in whole or in part, to the extent the purported relevant

markets alleged in the Amended Complaint are not relevant antitrust markets, and the Plaintiffs

cannot carry their burden of defining a proper relevant market.

                                 Twenty-first Affirmative Defense

        With respect to each and every allegation of the Amended Complaint as they relate to the

request for class certification, class certification is not appropriate because, among other reasons,

there is a lack of:

          a) Numerosity;

          b) Commonality or community of interest;




                                          110
          Case 2:22-cv-00610-LA Filed 10/30/23 Page 110 of 115 Document 50
          c) Typicality;

          d) A reasonably ascertainable class;

          e) Adequate representation;

          f) Appropriateness of relief to the putative class as a whole;

          g) Predominance of common questions over questions affecting individual class

              members;

          h) Substantial benefit to the litigants and the court;

          i) Superiority of a class action to other available methods for fair and efficient

              adjudication;

          j) Impracticality of joinder of all putative class members.

                                Twenty-second Affirmative Defense

          Plaintiffs’ claims on behalf of themselves and the purported class are barred, in whole or

in part, to the extent they are indirect purchasers of the services on which they base their claims.

                                 Twenty-third Affirmative Defense

          Plaintiffs have an adequate remedy at law and no factual or legal basis for the grant of

equitable relief.

                                Twenty-fourth Affirmative Defense

          All or some of Plaintiffs’ claims on behalf of themselves and the purported class are barred

by the applicable statutes of limitations.

                                 Twenty-fifth Affirmative Defense

          All or some of Plaintiffs’ claims on behalf of themselves and the purported class are barred

by the doctrine of laches, in that Plaintiffs have unreasonably delayed efforts to enforce their rights,

if any.




                                          111
          Case 2:22-cv-00610-LA Filed 10/30/23 Page 111 of 115 Document 50
                                Twenty-sixth Affirmative Defense

       All or some of Plaintiffs’ claims on behalf of themselves and the purported class are barred

by the doctrine of estoppel.

                               Twenty-seventh Affirmative Defense

       All or some of Plaintiffs’ claims on behalf of themselves and the purported class are barred

by the doctrines of waiver or acquiescence.

                               Twenty-eighth Affirmative Defense

       Plaintiffs have failed to mitigate their damages, if any, and recovery should be reduced or

denied accordingly.

                                Twenty-ninth Affirmative Defense

       Any damages that Plaintiffs allege to have suffered are too remote, speculative, and/or

uncertain to allow for a recovery. Such damages are not capable of ascertainment and allocation.

                                  Thirtieth Affirmative Defense

       Plaintiffs’ claims should be dismissed to the extent they are moot.

                                 Thirty-first Affirmative Defense

       Plaintiffs would be unjustly enriched if allowed to recover any relief claimed to be due.

                               Thirty-second Affirmative Defense

       Plaintiffs’ prayer for attorneys’ fees should be stricken, in whole or in part, because there

is no basis, factual, legal or otherwise, to support an award of attorneys’ fees.




                                        112
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 112 of 115 Document 50
                                 Thirty-third Affirmative Defense

       Plaintiffs’ claims for injunctive relief are barred, in whole or in part, to the extent Plaintiffs

have available an adequate remedy at law and to the extent injunctive relief otherwise is

inequitable.

                                Thirty-fourth Affirmative Defense

       Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs failed to state a claim

for injunctive relief, insofar as Plaintiffs seek to enjoin alleged events that have already transpired

without the requisite showing of threatened harm or continuing harm and insofar as any harm they

may have suffered is not irreparable.

                                 Thirty-fifth Affirmative Defense

       Plaintiffs’ claims are barred, in whole or in part, to the extent any recovery by Plaintiffs

would be duplicative of recovery by other parties and other lawsuits, subjecting AAH to the

possibility of multiple recoveries; such recovery is barred by the Fifth and Eighth Amendments

to the United States Constitution.

                                 Thirty-sixth Affirmative Defense

       Plaintiffs’ claims should be barred, in whole or in part, for uncertainty and vagueness and

because their claims are ambiguous and/or unintelligible. AAH avers that Plaintiff’s claims do

not describe the events or legal theories with sufficient particularity to permit AAH to ascertain

what other defenses may exist.

                               Thirty-seventh Affirmative Defense

       AAH hereby gives notice that it intends to rely upon such other and further defenses as

may become available or apparent during pre-trial proceedings in this case, and hereby reserves

its rights to amend this Answer and assert such defenses.




                                        113
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 113 of 115 Document 50
                                       PRAYER FOR RELIEF

        Wherefore, AAH prays as follows:

        1. That Plaintiffs take nothing by reason of the Amended Complaint, and that judgment

            be rendered in favor of AAH;

        2. That the Court dismiss the Amended Complaint in its entirely, with prejudice;

        3. That AAH be awarded its costs of suit and attorney’s fees incurred in this action

            (including all costs and fees associated with collecting, processing, and reviewing

            documents including electronically stored information), to the maximum extent

            permitted by law;

        4. For such other and further relief as the Court may deem just and proper.

                                         JURY DEMAND

        AAH demands a trial by jury, pursuant to Rule 38(b) of the Federal Rules of Civil

Procedure, of all issues so triable.



Date: October 30, 2023                                /s/ Daniel E. Conley
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                                        114
        Case 2:22-cv-00610-LA Filed 10/30/23 Page 114 of 115 Document 50
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                                115
Case 2:22-cv-00610-LA Filed 10/30/23 Page 115 of 115 Document 50
